Case 1:14-cv-01561-PKC Document 148-3 Filed 07/21/17 Page 1 of 45




                     Exhibit C
         Case 1:14-cv-01561-PKC
              Case 16-10882-LSS Document
                                 Doc 321 148-3  Filed 07/21/17
                                          Filed 05/10/16   PagePage
                                                               1 of 62 of 45



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                                                )
In re:                                                          )    Chapter 11
                                                                )
PACIFIC SUNWEAR OF CALIFORNIA INC., a                           )    Case No. 16-10882 (LSS)
California corporation., et al.,1                               )
                                                                )    (Jointly Administered)
                                    Debtors.                    )    Objection Deadline: May 1, 2016 at 4:00 p.m.
                                                                )

              SUMMARY OF FIRST MONTHLY STATEMENT OF
    SULLIVAN & CROMWELL LLP AS SPECIAL COUNSEL FOR THE DEBTORS
       FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
        FOR THE PERIOD FROM APRIL 7, 2016 THROUGH APRIL 30, 2016

Name of Applicant                                          Sullivan & Cromwell LLP
Authorized to Provide Professional Services to:            Debtors
Date of Retention:                                         May 3, 2016 nunc pro tunc to April 7, 2016
Period for which Compensation and                          April 7, 2016 through April 30, 2016
Reimbursement Is Sought:
Amount of Compensation Sought as Actual,                   $28,071.50
Reasonable and Necessary:
80% of Compensation Sought as Actual,                      $22,457.20
Reasonable and Necessary:
Amount of Expense Reimbursement Sought as                  $0
Actual, Reasonable, and Necessary:

This is a(n) X monthly ___ interim ___ final application.

This application seeks $0.00 in fees incurred for 0.0 hours expended on preparation of fee
applications.

No previous application for compensation or reimbursement of expenses has been filed by
Sullivan & Cromwell LLP in these chapter 11 cases.



1
    The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
    Pacific Sunwear of California, Inc. (9463-CA); Miraloma Borrower Corporation (0381-Del.); and Pacific
    Sunwear Stores Corp. (5792-CA). The Debtors’ address is 3450 East Miraloma Avenue, Anaheim, CA 92806.




SC1:4115279.2
          Case 1:14-cv-01561-PKC
               Case 16-10882-LSS Document
                                  Doc 321 148-3  Filed 07/21/17
                                           Filed 05/10/16   PagePage
                                                                2 of 63 of 45



                             PROJECT CODE TOTAL CHART


Project
Number                            Project Name                  Hours     Fee Amount
 00006           ASSET ANALYSIS AND RECOVERY                     0.00            $0.00
 00007           ASSET DISPOSITION                               1.40        $1,799.00
                 ASSUMPTION AND REJECTION OF LEASES AND
 00008
                 CONTRACTS                                      0.00             $0.00
 00009           AVOIDANCE ACTION ANALYSIS                      0.00             $0.00
 00010           BUSINESS OPERATIONS                            0.00             $0.00
 00011           CASE ADMINISTRATION                            0.00             $0.00
 00012           CLAIMS ADMINISTRATION AND OBJECTIONS           0.00             $0.00
 00013           CORPORATE GOVERNANCE AND BOARD MATTERS         4.30         $5,525.50
 00014           EMPLOYEE BENEFITS AND PENSIONS                 0.00             $0.00
 00015           EMPLOYMENT AND FEE APPLICATIONS (S&C)          14.50       $12,649.50
 00016           EMPLOYMENT AND FEE APPLICATIONS (OTHERS)       0.00             $0.00
 00017           FINANCING AND CASH COLLATERAL                  0.00             $0.00
 00018           OTHER LITIGATION                               0.00             $0.00
                 MEETINGS AND COMMUNICATIONS WITH
 00019
                 CREDITORS                                      0.00             $0.00
 00020           NON-WORKING TRAVEL                             0.00             $0.00
 00021           PLAN AND DISCLOSURE STATEMENT                  0.00             $0.00
 00022           RELIEF FROM STAY AND ADEQUATE PROTECTION       0.00             $0.00
 00023           TAX                                            0.00             $0.00
 00024           VALUATION                                      0.00             $0.00
 00025           DISCOVERY                                      0.00             $0.00
 00026           HEARINGS                                       0.00             $0.00
 00027           FIRST AND SECOND DAY MOTIONS                   0.00             $0.00
 00028           CLAIMS INVESTIGATION                            0.00            $0.00
 00029           LIEN INVESTIGATION                              0.00            $0.00
 00030           SCHEDULES, SOFAS AND REPORTING                  7.10        $8,097.50
 00031           OTHER MOTIONS / APPLICATIONS                   0.00             $0.00
 00032           TIME ENTRY REVIEW                               0.00            $0.00
 00033           BUDGETING                                      0.00             $0.00
                 TOTAL:                                         27.30       $28,071.50




                                          -2-
 SC1:4115279.2
        Case 1:14-cv-01561-PKC
             Case 16-10882-LSS Document
                                Doc 321 148-3  Filed 07/21/17
                                         Filed 05/10/16   PagePage
                                                              3 of 64 of 45



    S&C PROFESSIONALS PERFORMING SERVICES DURING THE FEE PERIOD

                                                    Bar
    Timekeeper Name            Title              Admission         Rate          Hours      Amount
 Dietderich, Andrew G.   Partner                    1997          $1,285.00         2.10     $2,698.50
 Ressler, Alison S.      Partner                    1984          $1,285.00         8.80    $11,308.00
 Partner Total                                                                     10.90    $14,006.50
 Chen, Ann               Special Counsel             2000         $1,045.00         3.10     $3,239.50
 Special Counsel Total                                                              3.10     $3,239.50
 Baudistel, Katherine J. Associate                   2013           $815.00         0.60       $489.00
 Kranzley, Alexa J.      Associate                   2009           $935.00         0.50       $467.50
 Ma, Chiansan            Associate                   2012           $925.00         9.80     $9,065.00
 Associate Total                                                                   10.90    $10,021.50
 Lawyers Total                                                                     24.90    $27,267.50
 Drinkwater, Emily C. C. Legal Assistant                            $335.00         2.20       $737.00
 Watson, Thomas C.       Legal Assistant                            $335.00         0.20        $67.00
 Non-Legal Personnel Total                                                          2.40      $804.00
 Grand Total                                                                       27.30    $28,071.50

 * Half-rates appear where fees were charged for non-working travel and a zero rate appears wherever no
 fee was charged for work.




                                                  -3-
SC1:4115279.2
         CaseCase
              1:14-cv-01561-PKC
                   16-10882-LSS Document
                                Doc 321-2 148-3
                                            Filed Filed 07/21/17
                                                  05/10/16   PagePage  5 of 45
                                                                  2 of 12



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                                                )
In re:                                                          )    Chapter 11
                                                                )
PACIFIC SUNWEAR OF CALIFORNIA INC., a                           )    Case No. 16-10882 (LSS)
California corporation., et al.,1                               )
                                                                )    (Jointly Administered)
                                    Debtors.                    )
                                                                )

           CERTIFICATION UNDER LOCAL RULE 2016-2(g) IN RESPECT OF
         THE FIRST MONTHLY STATEMENT OF SULLIVAN & CROMWELL LLP
           AS SPECIAL COUNSEL FOR THE DEBTORS FOR COMPENSATION
                    FOR PROFESSIONAL SERVICES RENDERED
           FOR THE PERIOD FROM APRIL 7, 2016 THROUGH APRIL 30, 2016

                 I, Andrew G. Dietderich, under penalty of perjury, declare as follows:

                 1.       I am a partner in the law firm of Sullivan & Cromwell LLP (“S&C”),

located at 125 Broad Street, New York, New York 10004. I am a member in good standing of

the Bar of the State of New York. There are no disciplinary proceedings pending against me.

                 2.       This certification is made with respect to S&C’s compliance with rules

2016-2(c)–(g) of the Local Rules of Bankruptcy Practice and Procedures of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), in connection with S&C’s

first monthly statement (the “Monthly Fee Statement”), as special counsel to the debtors and

debtors-in-possession in these chapter 11 cases, for compensation for professional services for

the period from April 7, 2016 through April 30, 2016.



1
    The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
    Pacific Sunwear of California, Inc. (9463-CA); Miraloma Borrower Corporation (0381-Del.); and Pacific
    Sunwear Stores Corp. (5792-CA). The Debtors’ address is 3450 East Miraloma Avenue, Anaheim, CA 92806.




SC1:4115279.2
        CaseCase
             1:14-cv-01561-PKC Document
                 16-10882-LSS Doc 321-2 148-3  Filed 07/21/17
                                         Filed 05/10/16   Page Page
                                                               12 of 612of 45



                                            EXHIBIT D

                         Attorneys and Paraprofessionals’ Information



                                                    Bar
    Timekeeper Name            Title              Admission         Rate          Hours      Amount
 Dietderich, Andrew G.   Partner                    1997          $1,285.00         2.10     $2,698.50
 Ressler, Alison S.      Partner                    1984          $1,285.00         8.80    $11,308.00
 Partner Total                                                                     10.90    $14,006.50
 Chen, Ann               Special Counsel             2000         $1,045.00         3.10     $3,239.50
 Special Counsel Total                                                              3.10     $3,239.50
 Baudistel, Katherine J. Associate                   2013           $815.00         0.60       $489.00
 Kranzley, Alexa J.      Associate                   2009           $935.00         0.50       $467.50
 Ma, Chiansan            Associate                   2012           $925.00         9.80     $9,065.00
 Associate Total                                                                   10.90    $10,021.50
 Lawyers Total                                                                     24.90    $27,267.50
 Drinkwater, Emily C. C. Legal Assistant                            $335.00         2.20       $737.00
 Watson, Thomas C.       Legal Assistant                            $335.00         0.20        $67.00
 Non-Legal Personnel Total                                                          2.40      $804.00
 Grand Total                                                                       27.30    $28,071.50

 * Half-rates appear where fees were charged for non-working travel and a zero rate appears wherever no
 fee was charged for work.




SC1:4115279.2
       Case 1:14-cv-01561-PKC
16-10073-mg                    Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered  Filed 07/21/17
                                                       17:48:24Page 7 of
                                                                 Main    45
                                                                      Document
                                   Pg 1 of 271


 Andrew G. Dietderich
 Brian D. Glueckstein
 Alexa J. Kranzley
 SULLIVAN & CROMWELL LLP
 125 Broad Street
 New York, NY 10004-2498
 Telephone: (212) 558-4000
 Facsimile: (212) 558-3588

 Counsel to the Debtors and
 Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ____________________________________________ x
                                              :                               Chapter 11
 In re                                        :
                                              :                               Case No. 16-10073 (MG)
 PRIMORSK INTERNATIONAL SHIPPING              :
 LIMITED, et al.,1                            :                                Jointly Administered
                                              :
                             Debtors.         :
 ____________________________________________ x

                  NOTICE OF FIRST INTERIM APPLICATION OF
          SULLIVAN & CROMWELL LLP AS COUNSEL TO THE DEBTORS AND
           DEBTORS-IN-POSSESSION FOR APPROVAL AND ALLOWANCE OF
         COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
                  EXPENSES INCURRED FOR THE PERIOD FROM
             JANUARY 15, 2016 THROUGH AND INCLUDING APRIL 30, 2016

                   PLEASE TAKE NOTICE that on the date hereof, Primorsk International

 Shipping Limited and certain of its affiliated debtors and debtors-in-possession (collectively, the

 “Debtors”), filed the First Interim Application of Sullivan & Cromwell LLP as Counsel to the

 Debtors and Debtors-in-Possession for Approval and Allowance of Compensation for Services

 1
     The Debtors in these chapter 11 cases and, if applicable, the last four digits of their U.S. taxpayer identification
     numbers are: Primorsk International Shipping Limited (Cyprus), Boussol Shipping Limited (Cyprus) (6402) –
     m/t “Zaliv Amerika”, Malthus Navigation Limited (Cyprus) (6401) – m/t “Zaliv Amurskiy”, Jixandra Shipping
     Limited (Cyprus) (6168) – m/t “Prisco Alexandra”, Levaser Navigation Limited (Cyprus) (0605) – m/t “Prisco
     Ekaterina”, Hermine Shipping Limited (Cyprus) (0596) – m/t “Prisco Irina”, Laperouse Shipping Limited
     (Cyprus) (0603) – m/t “Prisco Elizaveta”, Prylotina Shipping Limited (Cyprus) (6085) – m/t “Prisco Elena”,
     Baikal Shipping Ltd (Liberia) (6592) – m/t “Zaliv Baikal” and Vostok Navigation Ltd (Liberia) (1745) – m/t
     “Zaliv Vostok”.



 SC1:4136880.1
       Case 1:14-cv-01561-PKC
16-10073-mg                    Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered  Filed 07/21/17
                                                       17:48:24Page 8 of
                                                                 Main    45
                                                                      Document
                                   Pg 2 of 271


 Rendered and Reimbursement of Expenses Incurred for the Period January 15, 2016 Through

 and Including April 30, 2016 (the “Application”). The undersigned counsel will present the

 Application to the Honorable Martin Glenn, United States Bankruptcy Court for the Southern

 District of New York (the “Court”) at One Bowling Green, New York, NY 10004, at a hearing to

 be held on June 16, 2016 at 2:00 p.m. (ET) (the “Hearing”).

                 PLEASE TAKE FURTHER NOTICE that any responses or objections, if any,

 to the relief requested in the Application must be filed electronically with the Court on the docket

 of In re Primorsk International Shipping Limited, et al., Case No. 16-10073 (MG) in accordance

 with rule 5005-2 of the Local Bankruptcy Rules for the Southern District of New York, and must

 be served upon each of the following in accordance with the Administrative Order Establishing

 Case Management Procedures [Docket No. 71] entered in these chapter 11 cases: (a) the

 Chambers of the Honorable Martin Glenn, United States Bankruptcy Court for the Southern

 District of New York, One Bowling Green, New York, NY 10004; (b) the Debtors and their

 counsel and (c) the Office of the United States Trustee for the Southern District of New York, so

 as to be actually received no later than June 2, 2016 at 4:00 p.m. (ET).

                 PLEASE TAKE FURTHER NOTICE that only those objections that are timely

 filed, served and received will be considered at the Hearing. Failure to file a timely objection

 may result in the entry of a final order granting the relief requested in the Application without

 further notice. Failure to attend the Hearing in person or by counsel may result in relief being

 granted or denied upon default. In the event that no objection to the Application is timely filed

 and served, the relief requested in the Application may be granted without a hearing before the

 Court.

                 PLEASE TAKE FURTHER NOTICE that copies of the Application may be



                                                  2
 SC1:4136880.1
       Case 1:14-cv-01561-PKC
16-10073-mg                    Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered  Filed 07/21/17
                                                       17:48:24Page 9 of
                                                                 Main    45
                                                                      Document
                                   Pg 3 of 271


 obtained from the Court’s website, https://ecf.nysb.uscourts.gov, for a nominal fee, or obtained

 free of charge by accessing the website of the Debtors’ claims and noticing agent,

 https://www.kccllc.net/primorsk.



 Dated: May 19, 2016                                  /s/ Andrew G. Dietderich
        New York, New York                            Andrew G. Dietderich
                                                      Brian D. Glueckstein
                                                      Alexa J. Kranzley
                                                      SULLIVAN & CROMWELL LLP
                                                      125 Broad Street
                                                      New York, New York 10004
                                                      Telephone: (212) 558-4000
                                                      Facsimile:    (212) 558-3588
                                                      E-mail:       dietdericha@sullcrom.com
                                                                    gluecksteinb@sullcrom.com
                                                                    kranzleya@sullcrom.com

                                                      Counsel to the Debtors and
                                                      Debtors-in-Possession




                                                 3
 SC1:4136880.1
      Case 1:14-cv-01561-PKC
16-10073-mg                   Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered  Filed 07/21/17
                                                       17:48:24Page 10 Document
                                                                  Main of 45
                                   Pg 4 of 271
                                                                       Hearing Date: June 16, 2016 at 2:00 p.m. ET
                                                                   Objection Deadline: June 2, 2016 at 4:00 p.m. ET


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ____________________________________________
                                              x
                                              :                               Chapter 11
 In re
                                              :
                                              :                               Case No. 16-10073 (MG)
 PRIMORSK INTERNATIONAL SHIPPING              :
 LIMITED, et al.,1                            :                                Jointly Administered
                                              :
                             Debtors.         :
 ____________________________________________ x

                    SUMMARY OF FIRST INTERIM FEE APPLICATION OF
                      SULLIVAN & CROMWELL LLP AS COUNSEL TO
                       THE DEBTORS AND DEBTORS-IN-POSSESSION

 NAME OF APPLICANT:                                       Sullivan & Cromwell LLP

 AUTHORIZED TO PROVIDE PROFESSIONAL                       Primorsk International Shipping Limited and certain of
 SERVICES TO:                                             its affiliates, as debtors and debtors-in-possession in
                                                          these chapter 11 cases

 DATE CASE FILED:                                         January 15, 2016

 DATE OF RETENTION:                                       February 18, 2016, nunc pro tunc to January 15, 2016

 PERIOD FOR WHICH COMPENSATION AND                        January 15, 2016 through and including April 30, 2016
 REIMBURSEMENT IS SOUGHT:

 TOTAL COMPENSATION REQUESTED:                            $2,772,520.40

 TOTAL EXPENSE REIMBURSEMENT                              $44,306.10
 REQUESTED:

 This is an: X interim       final application.

 This is the first interim fee application filed by Sullivan & Cromwell LLP.



 1
     The Debtors in these chapter 11 cases and, if applicable, the last four digits of their U.S. taxpayer identification
     numbers are: Primorsk International Shipping Limited (Cyprus), Boussol Shipping Limited (Cyprus) (6402) –
     m/t “Zaliv Amerika”, Malthus Navigation Limited (Cyprus) (6401) – m/t “Zaliv Amurskiy”, Jixandra Shipping
     Limited (Cyprus) (6168) – m/t “Prisco Alexandra”, Levaser Navigation Limited (Cyprus) (0605) – m/t “Prisco
     Ekaterina”, Hermine Shipping Limited (Cyprus) (0596) – m/t “Prisco Irina”, Laperouse Shipping Limited
     (Cyprus) (0603) – m/t “Prisco Elizaveta”, Prylotina Shipping Limited (Cyprus) (6085) – m/t “Prisco Elena”,
     Baikal Shipping Ltd (Liberia) (6592) – m/t “Zaliv Baikal” and Vostok Navigation Ltd (Liberia) (1745) – m/t
     “Zaliv Vostok”.



 SC1:4110846.3
         Case 1:14-cv-01561-PKC
   16-10073-mg                   Document
                 Doc 175 Filed 05/19/16    148-3 05/19/16
                                         Entered  Filed 07/21/17
                                                          17:48:24Page 11 Document
                                                                     Main of 45
                                      Pg 5 of 271


              SUMMARY OF FEES AND EXPENSES REQUESTED FOR FEE PERIOD

                                                                                               Expenses
 Date and                               Fees         Holdback      Fees paid to   Expenses
                    Period Covered                                                              Paid to
Docket No.                            Requested       (20%)           Date        Requested
                                                                                                 Date
 2/22/2016            1/15/2016 -
                                     $547,611.50     $109,522.30   $438,089.20    $27,560.37   $27,560.37
  [D.I. 69]           01/31/2016
 3/21/2016            2/1/2016 -
                                     $688,773.00     $137,754.60      $0.00       $11,923.98     $0.00
 [D.I. 111]           2/29/2016
 4/20/2016            3/1/2016 –
                                     $1,148,200.40   $229,640.08      $0.00       $3,598.37      $0.00
 [D.I. 151]           3/31/2016
[5/19/2016]           4/1/2016 –
                                     $387,935.50     $77,587.10       $0.00       $1,223.38      $0.00
 [D.I. 174]           4/30/2016
                 TOTAL FOR
                MONTHLY FEE          $2,772,520.40   $554,504.08   $438,089.20    44,306.10    $27,560.37
                APPLICATIONS




    SC1:4110846.3
      Case 1:14-cv-01561-PKC
16-10073-mg                   Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered  Filed 07/21/17
                                                       17:48:24Page 12 Document
                                                                  Main of 45
                                   Pg 6 of 271


  PROJECTED TOTAL BUDGET FOR FEE PERIOD AND ACTUAL FEES INCURRED

              Estimated Fees for Fee Period       Actual Fees For Fee Period
             Low                       High
         $1,789,125                $3,168,000           $2,772,520.40




 SC1:4110846.3
       Case 1:14-cv-01561-PKC
 16-10073-mg                   Document
               Doc 175 Filed 05/19/16    148-3 05/19/16
                                       Entered  Filed 07/21/17
                                                        17:48:24Page 13 Document
                                                                   Main of 45
                                    Pg 7 of 271


                           PROJECT CODE TOTAL CHART

Project
Number                           Project Name                    Hours     Fee Amount
 00004       ASSET ANALYSIS AND RECOVERY                             -             $0.00
 00005       ASSET DISPOSITION                                   258.50      $220,102.50
 00006       ASSUMPTION AND REJECTION OF LEASES AND CONTRACTS        -             $0.00
 00007       AVOIDANCE ACTION ANALYSIS                               -             $0.00
 00008       BUSINESS OPERATIONS                                  67.80       $69,265.00
 00009       CASE ADMINISTRATION                                 188.60      $141,191.00
 00010       CLAIMS ADMINISTRATION AND OBJECTIONS                 64.00       $51,064.00
 00011       CORPORATE GOVERNANCE AND BOARD MATTERS               30.90       $26,760.50
 00012       EMPLOYEE BENEFITS AND PENSIONS                        7.80        $6,093.00
 00013       EMPLOYMENT AND FEE APPLICATIONS (S&C)               107.00       $77,618.00
 00014       EMPLOYMENT AND FEE APPLICATIONS (OTHERS)            108.60       $85,353.50
 00015       FINANCING AND CASH COLLATERAL                       311.10      $294,180.00
 00016       OTHER LITIGATION                                        -             $0.00
 00017       MEETINGS AND COMMUNICATIONS WITH CREDITORS          135.50      $154,905.50
 00018       NON-WORKING TRAVEL                                   41.30       $22,653.40
 00019       PLAN AND DISCLOSURE STATEMENT                      1,130.60     $946,834.00
 00020       RELIEF FROM STAY AND ADEQUATE PROTECTION                -             $0.00
 00021       TAX                                                   5.90        $7,406.50
 00022       VALUATION                                             1.60        $2,056.00
 00023       DISCOVERY                                           184.00      $169,322.50
 00024       HEARINGS                                             79.10       $75,952.50
 00025       FIRST AND SECOND DAY MOTIONS                        389.40      $309,969.00
 00026       CLAIMS INVESTIGATION                                  9.00        $6,376.00
 00027       LIEN INVESTIGATION                                      -             $0.00
 00028       SCHEDULES, SOFAS AND REPORTING                       79.00       $64,674.50
 00029       OTHER MOTIONS / APPLICATIONS                            -             $0.00
 00030       SCHEDULES AND STATEMENTS                                -             $0.00
 00031       TIME ENTRY REVIEW                                   104.00       $38,806.00
 00032       BUDGETING                                             2.60        $1,937.00
             TOTAL:                                             3,306.30   $2,772,520.40




  SC1:4110846.3
                Case 1:14-cv-01561-PKC
          16-10073-mg                   Document
                        Doc 175 Filed 05/19/16    148-3 05/19/16
                                                Entered  Filed 07/21/17
                                                                 17:48:24Page 14 Document
                                                                            Main of 45
                                             Pg 8 of 271


               S&C PROFESSIONALS PERFORMING SERVICES DURING THE FEE PERIOD

                                                                 Year
   Timekeeper Name              Title                           Admitted      Rate         Hours      Amount
                                             GP/Employee
Coleman, Heather L.        Partner           Benefits             2007       $1,100.00        1.80       $1,980.00
Dietderich, Andrew G.      Partner           GP/Restructuring     1997         $643.00 *     17.30      $11,123.90
Dietderich, Andrew G.      Partner           GP/Restructuring     1997       $1,285.00      209.70     $269,464.50
Glueckstein, Brian D.      Partner           Litigation           2004         $643.00 *      0.70         $450.10
Glueckstein, Brian D.      Partner           Litigation           2004       $1,285.00      488.10     $627,208.50
Hariton, David P.          Partner           Tax                  1986       $1,285.00       13.40      $17,219.00
Harms, David B.            Partner           GP                   1985       $1,285.00        0.80       $1,028.00
Howard, Christopher J.     Partner           GP                   1996         $643.00 *      1.00         $643.00
Howard, Christopher J.     Partner           GP                   1996       $1,285.00      105.70     $135,824.50
Jones, Craig               Partner           GP                   1996       $1,285.00        2.80       $3,598.00
Torkin, Michael H.         Partner           GP/Restructuring     1999       $1,285.00        1.50       $1,927.50
Partner Total                                                                               842.80   $1,070,467.00
Braun, Jeannette E.        Associate         GP                    2012       $925.00        17.90      $16,557.50
Deppermann, Lee JF         Associate         Litigation            2015       $665.00        74.80      $49,742.00
Foushee, M. Hampton        Associate         GP/Restructuring      2015       $665.00       509.70     $338,950.50
Ha, Alice YN               Associate         GP                    2015       $665.00        25.20      $16,758.00
Hagan, Anna L.             Associate         GP                    2015       $570.00        39.30      $22,401.00
Ip, Veronica W.            Associate         Litigation            2011       $935.00       125.90     $117,716.50
Jensen, Christian P.       Associate         GP                 In process    $520.00       358.40     $186,368.00
Kranzley, Alexa J.         Associate         GP/Restructuring      2009       $468.00 *      22.30      $10,436.40
Kranzley, Alexa J.         Associate         GP/Restructuring      2009       $935.00       513.80     $480,403.00
Ma, Chiansan               Associate         GP/Restructuring      2012       $925.00       257.50     $238,187.50
Nudelman, Sarah E.         Associate         Litigation            2014       $815.00        66.60      $54,279.00
Orchowski, Michael         Associate         Tax                   2009       $935.00         0.50         $467.50
Rhein, Jonathan M.         Associate         Tax                   2014       $665.00         0.80         $532.00
Su, Lester                 Associate         GP                    2010       $935.00         5.40       $5,049.00
Toy, Amanda K.             Associate         GP                    2016       $520.00        17.00       $8,840.00
Chirou, Anna D.            Associate         GP                               $440.00 **     31.60      $13,904.00
Associate Total                                                                            2066.70   $1,560,591.90
Lawyers Total                                                                              2909.50   $2,631,058.90
Drinkwater, Emily C. C.    Legal Assistant                                    $335.00       113.20      $37,922.00
Minio, Zara E.             Legal Assistant                                    $385.00       140.00      $53,900.00
Son, Grace M.              Legal Assistant                                    $290.00         4.70       $1,363.00
Watson, Thomas C.          Legal Assistant                                    $335.00        97.70      $32,729.50
Yang, April C.             Legal Assistant                                    $335.00         6.30       $2,110.50



           SC1:4110846.3
                Case 1:14-cv-01561-PKC
          16-10073-mg                   Document
                        Doc 175 Filed 05/19/16    148-3 05/19/16
                                                Entered  Filed 07/21/17
                                                                 17:48:24Page 15 Document
                                                                            Main of 45
                                             Pg 9 of 271


                                                                          Year
   Timekeeper Name                  Title                                Admitted   Rate      Hours      Amount
                              Legal Analyst -
Bender, Jennifer B.           Litigation                                            $385.00      1.50        $577.50
                              Legal Analyst -
Gilday, Joseph F.             Litigation                                            $385.00     12.30      $4,735.50
                              Electronic
Grullon, Ralph                Discovery                                             $385.00      4.10      $1,578.50
                              Electronic
Young, Jamar T.               Discovery                                             $385.00      4.90      $1,886.50
                              Research
Normile, Michael R.           Librarian                                             $385.00      1.00        $385.00
                              Research
Seeger, Evelyn H.             Librarian                                             $385.00      0.30        $115.50
                              Research
Tully, John K.                Librarian                                             $385.00      8.30      $3,195.50
                              Research
Voizard, Marshall R.          Librarian                                             $385.00      2.50        $962.50
Non-Legal Personnel
Total                                                                                          396.80     $141,461.50
Grand Total                                                                                   3306.30   $2,772,520.40




            * Half-rates appear where fees were charged for non-working travel.
            **Anna Chirou is a Trainee Solicitor.




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            SC1:4110846.3
      Case 1:14-cv-01561-PKC
16-10073-mg                   Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered   Filed 07/21/17
                                                        17:48:24Page 16 Document
                                                                   Main of 45
                                   Pg 10 of 271


                        CUSTOMARY AND COMPARABLE DISCLOSURES

                                           Primorsk                                     Firm1
                                                                             Total Firm Bills Allocated to
                                                                              NonǦǦBK General Domestic
                                 January 15, 2016 through                    Timekeepers from May 2015
                                        April 2016                               through April 2016
                                  Blended       % of Total                     Blended           % of Total
           Category             Hourly Rate       Hours                      Hourly Rate           Hours
     Partner                         $1,270            25%                            $1,569             24%
     Senior Associate and
     Counsel2                          $ 921                 29%                        $ 995                23%
                                                  3
     Junior Associate                  $ 616                 34%                        $ 656                47%
                 4
     Non-Lawyer                        $ 357                 12%                        $ 351                6%
     All Timekeepers
     Average                           $ 839               100%                         $ 935               100%




 1
      Includes non-BK work of BK timekeepers and all work of other domestic timekeepers, excluding litigation
      matters and all write-offs (bills or collections less than 50% of standard rates).
 2
      Includes Special Counsel, Of Counsel, Senior Counsel, Practice Area Associate and Senior Associate.
 3
      Includes Anna Chirou (Trainee Solicitor).
 4
      Includes Legal Assistant, Legal Analyst, Research Analyst, and Electronic Discovery.



 SC1:4110846.3
      Case 1:14-cv-01561-PKC
16-10073-mg                   Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered   Filed 07/21/17
                                                        17:48:24Page 17 Document
                                                                   Main of 45
                                   Pg 11 of 271


                           SUMMARY OF DISBURSEMENTS


                                      Disbursement Summary
                                 Description                 Amount
                 Local Transportation                          $2,540.87
                 Out of Town Travel                           $11,510.85
                 Meals - Overtime                              $2,292.92
                 Conference Catering                             $276.23
                 Outside Vendors                               $6,361.27
                 Filing Fees                                  $17,170.00
                 Delivery - Courier                               $25.12
                 Repro -Copies                                 $1,722.10
                 Repro - Color Copies                              $1.00
                 Repro-Binding                                    $32.50
                 Tele-conference                               $1,507.56
                 Hearing Transcripts                             $865.68
                 Total                                        $44,306.10




 SC1:4110846.3
      Case 1:14-cv-01561-PKC
16-10073-mg                   Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered   Filed 07/21/17
                                                        17:48:24Page 18 Document
                                                                   Main of 45
                                   Pg 37 of 271



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ____________________________________________ x
                                              :                               Chapter 11
 In re                                        :
                                              :                               Case No. 16-10073 (MG)
 PRIMORSK INTERNATIONAL SHIPPING              :
 LIMITED, et al.,1                            :                                Jointly Administered
                                              :
                             Debtors.         :
 ____________________________________________ x

    ORDER GRANTING THE FIRST INTERIM APPLICATION OF SULLIVAN &
 CROMWELL LLP AS COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION
    FOR APPROVAL AND ALLOWANCE OF COMPENSATION FOR SERVICES
 RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
      FROM JANUARY 15, 2016 THROUGH AND INCLUDING APRIL 30, 2016

                   Upon consideration of the First Interim Application of Sullivan & Cromwell LLP

 as Counsel to the Debtors and Debtors-in-Possession for Interim Approval and Allowance of

 Compensation for Services Rendered and Reimbursement of Expenses Incurred for the Period

 from January 15, 2016 Through and Including April 30, 2016 (the “Application”); and a hearing

 having been held before this court to consider the Application(s) on June 16, 2016; and notice

 having been given pursuant to rules 2002(a)(6) and (c)(2) of the Federal Rules of Bankruptcy

 Procedure; and due consideration having been given to any responses thereto; and sufficient

 cause having been shown therefor, it is hereby;




 1
     The Debtors in these chapter 11 cases and, if applicable, the last four digits of their U.S. taxpayer identification
     numbers are: Primorsk International Shipping Limited (Cyprus), Boussol Shipping Limited (Cyprus) (6402) –
     m/t “Zaliv Amerika”, Malthus Navigation Limited (Cyprus) (6401) – m/t “Zaliv Amurskiy”, Jixandra Shipping
     Limited (Cyprus) (6168) – m/t “Prisco Alexandra”, Levaser Navigation Limited (Cyprus) (0605) – m/t “Prisco
     Ekaterina”, Hermine Shipping Limited (Cyprus) (0596) – m/t “Prisco Irina”, Laperouse Shipping Limited
     (Cyprus) (0603) – m/t “Prisco Elizaveta”, Prylotina Shipping Limited (Cyprus) (6085) – m/t “Prisco Elena”,
     Baikal Shipping Ltd (Liberia) (6592) – m/t “Zaliv Baikal” and Vostok Navigation Ltd (Liberia) (1745) – m/t
     “Zaliv Vostok”.
                                                            2


 SC1:4110846.3
      Case 1:14-cv-01561-PKC
16-10073-mg                   Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered   Filed 07/21/17
                                                        17:48:24Page 19 Document
                                                                   Main of 45
                                   Pg 38 of 271


                 ORDERED that the Application is granted to the extent set forth in the attached

 Schedule A.

 Dated: June __, 2016
        New York, New York                           Martin Glenn
                                                     United States Bankruptcy Judge




                                                 3


 SC1:4110846.3
                              Case 1:14-cv-01561-PKC
                        16-10073-mg                   Document
                                      Doc 175 Filed 05/19/16    148-3 05/19/16
                                                              Entered   Filed 07/21/17
                                                                                17:48:24Page 20 Document
                                                                                           Main of 45
                                                           Pg 39 of 271


                                                                 Schedule A

                    Compensation and Reimbursement of Expenses Granted Pursuant to First Interim Fee Application
                                                January 15, 2016 – April 30, 2016

Case No. 16-10073 (MG)
Case Name: In re PRIMORSK INTERNATIONAL SHIPPING LIMITED, et al.

     (1)                (2)             (3)            (4)            (5)           (6)              (7)           (8)              (9)
   Applicant           Date/       Interim Fees   Fees Allowed     Fees to be    Fees to be     Total Fees to    Interim    Expenses to be Paid
                       Docket       Requested                       Paid for      Paid for        be Paid       Expenses     for Current Fee
                     Number of                                    Current Fee    Prior Fee                      Requested         Period
                     Application                                     Period     Period(s) (if
                                                                                 any) (i.e.,
                                                                                 Holdback
                                                                                  Release)


Sullivan &           5/19/2016 /
Cromwell LLP           D.I. [●]




    SC1:4110846.3
             Case 1:14-cv-01561-PKC
       16-10073-mg                   Document
                     Doc 175 Filed 05/19/16    148-3 05/19/16
                                             Entered   Filed 07/21/17
                                                               17:48:24Page 21 Document
                                                                          Main of 45
                                          Pg 40 of 271


                                                        Exhibit C

                           S&C Professionals Performing Services During Fee Period

                                                                Year
  Timekeeper Name             Title                            Admitted      Rate         Hours      Amount
                                           GP/Employee
Coleman, Heather L.      Partner           Benefits                 2007    $1,100.00        1.80     $1,980.00
Dietderich, Andrew G.    Partner           GP/Restructuring         1997      $643.00 *     17.30    $11,123.90
Dietderich, Andrew G.    Partner           GP/Restructuring         1997    $1,285.00      209.70  $269,464.50
Glueckstein, Brian D.    Partner           Litigation               2004      $643.00 *      0.70      $450.10
Glueckstein, Brian D.    Partner           Litigation               2004    $1,285.00      488.10  $627,208.50
Hariton, David P.        Partner           Tax                      1986    $1,285.00       13.40    $17,219.00
Harms, David B.          Partner           GP                       1985    $1,285.00        0.80     $1,028.00
Howard, Christopher J.   Partner           GP                       1996      $643.00 *      1.00      $643.00
Howard, Christopher J.   Partner           GP                       1996    $1,285.00      105.70  $135,824.50
Jones, Craig             Partner           GP                       1996    $1,285.00        2.80     $3,598.00
Torkin, Michael H.       Partner           GP/Restructuring         1999    $1,285.00        1.50     $1,927.50
Partner Total                                                                              842.80 $1,070,467.00
Braun, Jeannette E.      Associate         GP                     2012       $925.00        17.90    $16,557.50
Deppermann, Lee JF       Associate         Litigation             2015       $665.00        74.80    $49,742.00
Foushee, M. Hampton      Associate         GP/Restructuring       2015       $665.00       509.70  $338,950.50
Ha, Alice YN             Associate         GP                     2015       $665.00        25.20    $16,758.00
Hagan, Anna L.           Associate         GP                     2015       $570.00        39.30    $22,401.00
Ip, Veronica W.          Associate         Litigation             2011       $935.00       125.90  $117,716.50
Jensen, Christian P.     Associate         GP                  In process    $520.00       358.40  $186,368.00
Kranzley, Alexa J.       Associate         GP/Restructuring       2009       $468.00 *      22.30    $10,436.40
Kranzley, Alexa J.       Associate         GP/Restructuring       2009       $935.00       513.80  $480,403.00
Ma, Chiansan             Associate         GP/Restructuring       2012       $925.00       257.50  $238,187.50
Nudelman, Sarah E.       Associate         Litigation             2014       $815.00        66.60    $54,279.00
Orchowski, Michael       Associate         Tax                    2009       $935.00         0.50      $467.50
Rhein, Jonathan M.       Associate         Tax                    2014       $665.00         0.80      $532.00
Su, Lester               Associate         GP                     2010       $935.00         5.40     $5,049.00
Toy, Amanda K.           Associate         GP                     2016       $520.00        17.00     $8,840.00
Chirou, Anna D.          Associate         GP                                $440.00 **     31.60    $13,904.00
Associate Total                                                                           2066.70 $1,560,591.90
Lawyers Total                                                                             2909.50 $2,631,058.90
Drinkwater, Emily C.
C.                       Legal Assistant                                     $335.00       113.20    $37,922.00
Minio, Zara E.           Legal Assistant                                     $385.00       140.00    $53,900.00
Son, Grace M.            Legal Assistant                                     $290.00         4.70     $1,363.00


         SC1:4110846.3
              Case 1:14-cv-01561-PKC
        16-10073-mg                   Document
                      Doc 175 Filed 05/19/16    148-3 05/19/16
                                              Entered   Filed 07/21/17
                                                                17:48:24Page 22 Document
                                                                           Main of 45
                                           Pg 41 of 271


                                                                       Year
 Timekeeper Name                 Title                                Admitted   Rate      Hours      Amount
Watson, Thomas C.          Legal Assistant                                       $335.00    97.70     $32,729.50
Yang, April C.             Legal Assistant                                       $335.00     6.30      $2,110.50
                           Legal Analyst -
Bender, Jennifer B.        Litigation                                            $385.00      1.50       $577.50
                           Legal Analyst -
Gilday, Joseph F.          Litigation                                            $385.00     12.30     $4,735.50
                           Electronic
Grullon, Ralph             Discovery                                             $385.00      4.10     $1,578.50
                           Electronic
Young, Jamar T.            Discovery                                             $385.00      4.90     $1,886.50
                           Research
Normile, Michael R.        Librarian                                             $385.00      1.00       $385.00
                           Research
Seeger, Evelyn H.          Librarian                                             $385.00      0.30       $115.50
                           Research
Tully, John K.             Librarian                                             $385.00      8.30     $3,195.50
                           Research
Voizard, Marshall R.       Librarian                                             $385.00      2.50       $962.50
Non-Legal Personnel
Total                                                                                       396.80  $141,461.50
Grand Total                                                                                3306.30 $2,772,520.40




         * Half-rates appear where fees were charged for non-working travel.
         **Anna Chirou is a Trainee Solicitor.


                                                                 3

         SC1:4110846.3
       Case 1:14-cv-01561-PKC
 16-10073-mg                   Document
               Doc 175 Filed 05/19/16    148-3 05/19/16
                                       Entered   Filed 07/21/17
                                                         17:48:24Page 23 Document
                                                                    Main of 45
                                    Pg 42 of 271


                                      Exhibit D

                               Project Code Total Chart

Project
Number                           Project Name                     Hours     Fee Amount
 00004       ASSET ANALYSIS AND RECOVERY                              -             $0.00
 00005       ASSET DISPOSITION                                    258.50      $220,102.50
 00006       ASSUMPTION AND REJECTION OF LEASES AND CONTRACTS         -             $0.00
 00007       AVOIDANCE ACTION ANALYSIS                                -             $0.00
 00008       BUSINESS OPERATIONS                                   67.80       $69,265.00
 00009       CASE ADMINISTRATION                                  188.60      $141,191.00
 00010       CLAIMS ADMINISTRATION AND OBJECTIONS                  64.00       $51,064.00
 00011       CORPORATE GOVERNANCE AND BOARD MATTERS                30.90       $26,760.50
 00012       EMPLOYEE BENEFITS AND PENSIONS                         7.80        $6,093.00
 00013       EMPLOYMENT AND FEE APPLICATIONS (S&C)                107.00       $77,618.00
 00014       EMPLOYMENT AND FEE APPLICATIONS (OTHERS)             108.60       $85,353.50
 00015       FINANCING AND CASH COLLATERAL                        311.10      $294,180.00
 00016       OTHER LITIGATION                                         -             $0.00
 00017       MEETINGS AND COMMUNICATIONS WITH CREDITORS           135.50      $154,905.50
 00018       NON-WORKING TRAVEL                                    41.30       $22,653.40
 00019       PLAN AND DISCLOSURE STATEMENT                       1,130.60     $946,834.00
 00020       RELIEF FROM STAY AND ADEQUATE PROTECTION                 -             $0.00
 00021       TAX                                                    5.90        $7,406.50
 00022       VALUATION                                              1.60        $2,056.00
 00023       DISCOVERY                                            184.00      $169,322.50
 00024       HEARINGS                                              79.10       $75,952.50
 00025       FIRST AND SECOND DAY MOTIONS                         389.40      $309,969.00
 00026       CLAIMS INVESTIGATION                                   9.00        $6,376.00
 00027       LIEN INVESTIGATION                                       -             $0.00
 00028       SCHEDULES, SOFAS AND REPORTING                        79.00       $64,674.50
 00029       OTHER MOTIONS / APPLICATIONS                             -             $0.00
 00030       SCHEDULES AND STATEMENTS                                 -             $0.00
 00031       TIME ENTRY REVIEW                                    104.00       $38,806.00
 00032       BUDGETING                                              2.60        $1,937.00
             TOTAL:                                              3,306.30   $2,772,520.40




  SC1:4110846.3
      Case 1:14-cv-01561-PKC
16-10073-mg                   Document
              Doc 175 Filed 05/19/16    148-3 05/19/16
                                      Entered   Filed 07/21/17
                                                        17:48:24Page 24 Document
                                                                   Main of 45
                                   Pg 43 of 271


                                           Exhibit E

                                 Summary of Disbursements

                                    Disbursement Summary
                                   Description              Amount
                 Local Transportation                        $2,540.87
                 Out of Town Travel                         $11,510.85
                 Meals - Overtime                            $2,292.92
                 Conference Catering                          $276.23
                 Outside Vendors                             $6,361.27
                 Filing Fees                                $17,170.00
                 Delivery - Courier                            $25.12
                 Repro -Copies                               $1,722.10
                 Repro - Color Copies                            $1.00
                 Repro-Binding                                 $32.50
                 Tele-conference                             $1,507.56
                 Hearing Transcripts                          $865.68
                 Total                                      $44,306.10




 SC1:4110846.3
             Case 1:14-cv-01561-PKC
       16-10073-mg                   Document
                     Doc 175 Filed 05/19/16    148-3 05/19/16
                                             Entered   Filed 07/21/17
                                                               17:48:24Page 25 Document
                                                                          Main of 45
                                          Pg 44 of 271


                                                     Exhibit F

                                             Budget and Staffing Plan


Code                    Project Category                   Estimated Hours            Estimated Fees
                                                          Low         High         Low            High

004       Asset Analysis and Recovery                             15         30     $11,250         $22,500

005       Asset Disposition                                      300         400   $225,000        $300,000
          Assumption and Rejection of Leases and
006       Contracts                                               15         30     $11,250         $22,500

007       Avoidance Action Analysis                                0           0      $0.00              $0.00

008       Business Operations                                     45         90     $33,750         $67,500

009       Case Administration                                     45         90     $33,750         $67,500

010       Claims Administration and Objections                    20         40     $15,000         $30,000

011       Corporate Governance and Board Matters                   0           0      $0.00              $0.00

012       Employment Benefits and Pensions                        20         40     $15,000         $30,000

013       Employment and Fee Applications (S&C)                   40         80     $30,000         $60,000

014       Employment and Fee Applications (Others)                20         40     $15,000         $30,000

015       Financing and Cash Collateral                           35         70     $26,250         $52,500

016       Other Litigation                                        70         130    $52,500         $97,500
          Meetings and Communications with
017       Creditors                                              225         425   $168,750        $318,750

018       Non-Working Travel                                      75         150    $28,125         $56,250

019       Plan and Disclosure Statement                          750    1,325      $562,500        $993,750

020       Relief from Stay and Adequate Protection                 0           0      $0.00              $0.00

021       Tax                                                      0           0      $0.00              $0.00

022       Valuation                                                0           0      $0.00              $0.00

023       Discovery                                              305         510   $228,750        $382,500

024       Hearings                                                45         90     $33,750         $67,500

025       First and Second Day Motions                           150         250   $112,500        $187,500

026       Claims Investigation                                    60         120    $45,000         $90,000

027       Lien Investigation                                      30         60     $22,500         $45,000



        SC1:4110846.3
                Case 1:14-cv-01561-PKC
          16-10073-mg                   Document
                        Doc 175 Filed 05/19/16    148-3 05/19/16
                                                Entered   Filed 07/21/17
                                                                  17:48:24Page 26 Document
                                                                             Main of 45
                                             Pg 45 of 271



 Code                            Project Category                   Estimated Hours                Estimated Fees
                                                                   Low         High             Low            High

  028        Schedules, SOFAs and Reporting                            35             80         $26,250             $60,000

  029        Other Motions/Applications                                 0               0           $0.00              $0.00

  031        Time Entry Review                                         60             120        $45,000             $90,000

  032        Budgeting (Case)                                          63             129        $47,250             $96,750

                             TOTAL                                   2,423        4,299       $1,789,125         $3,168,000




                                        Total Number in Category Expected
  Category of Timekeeper                                                          Estimated Average Hourly Rate(2)
                                          to Work on Matter in Period(1)

              Partner                                  4                                       $1,200.00
      Counsel/Special Counsel                          0                                       $1,150.00
             Associate                                 8                                        $675.00
                           (3)
         Legal Assistant                               3                                        $325.00
         Research Analyst                              2                                        $385.00




(1)
      Estimate is for total number of timekeepers billing a substantial number of hours to matter.
(2)
      Actual average hourly rate will vary with seniority of resources, and may be higher for some workstreams than others.
(3)
      Includes clerks, legal analysts, eDiscovery professionals and technology services.




                                                               2

           SC1:4110846.3
             Case 1:14-cv-01561-PKC
       16-10073-mg                   Document
                     Doc 175 Filed 05/19/16    148-3 05/19/16
                                             Entered   Filed 07/21/17
                                                               17:48:24Page 27 Document
                                                                          Main of 45
                                          Pg 46 of 271


                                                        Exhibit G

                                        Budget and Staffing Plan Comparison

                                                                      Actual                              Actual Fees
                                             Estimated Hours          Hours          Estimated Fees
                                                                      Actual                              Actual Fees
Code             Project Category
                                                                      Hours                               through 4/1
                                                                     through
                                              Low         High          4/1         Low        High
004     Asset Analysis and Recovery              15          30                0    $11,250     $22,500         $0.00

005     Asset Disposition                       300         400         258.5      $225,000    $300,000   $220,102.50
        Assumption and Rejection of
006     Leases and Contracts                     15          30                0    $11,250     $22,500         $0.00

007     Avoidance Action Analysis                   0            0             0      $0.00       $0.00         $0.00

008     Business Operations                      45          90          67.8       $33,750     $67,500    $69,265.00

009     Case Administration                      45          90         188.6       $33,750     $67,500   $141,191.00
        Claims Administration and
010     Objections                               20          40            64       $15,000     $30,000    $51,064.00
        Corporate Governance and Board
011     Matters                                     0            0       30.9         $0.00       $0.00    $26,760.50
        Employment Benefits and
012     Pensions                                 20          40            7.8      $15,000     $30,000     $6,093.00
        Employment and Fee
013     Applications (S&C)                       40          80           107       $30,000     $60,000    $77,618.00
        Employment and Fee
014     Applications (Others)                    20          40         108.6       $15,000     $30,000    $85,353.50

015     Financing and Cash Collateral            35          70         311.1       $26,250     $52,500   $294,180.00

016     Other Litigation                         70         130                0    $52,500     $97,500         $0.00
        Meetings and Communications
017     with Creditors                          225         425         135.5      $168,750    $318,750   $154,905.50

018     Non-Working Travel                       75         150          41.3       $28,125     $56,250    $22,653.40

019     Plan and Disclosure Statement           750        1,325       1,130.6     $562,500    $993,750   $946,834.00
        Relief from Stay and Adequate
020     Protection                                  0            0             0      $0.00       $0.00         $0.00

021     Tax                                         0            0         5.9        $0.00       $0.00     $7,406.50

022     Valuation                                   0            0         1.6        $0.00       $0.00     $2,056.00

023     Discovery                               305         510           184      $228,750    $382,500   $169,322.50

024     Hearings                                 45          90          79.1       $33,750     $67,500    $75,952.50




        SC1:4110846.3
               Case 1:14-cv-01561-PKC
         16-10073-mg                   Document
                       Doc 175 Filed 05/19/16    148-3 05/19/16
                                               Entered   Filed 07/21/17
                                                                 17:48:24Page 28 Document
                                                                            Main of 45
                                            Pg 47 of 271


                                                                          Actual                                    Actual Fees
                                                 Estimated Hours          Hours              Estimated Fees
                                                                          Actual                                    Actual Fees
Code                 Project Category
                                                                          Hours                                     through 4/1
                                                                         through
                                                  Low        High           4/1            Low          High

025        First and Second Day Motions              150        250          389.4       $112,500       $187,500    $309,969.00

026        Claims Investigation                       60        120                 9     $45,000        $90,000       $6,376.00

027        Lien Investigation                         30            60              0     $22,500        $45,000           $0.00

028        Schedules, SOFAs and Reporting             35            80          79        $26,250        $60,000     $64,674.50

029        Other Motions/Applications                   0            0              0        $0.00          $0.00          $0.00

031        Time Entry Review                          60        120            104        $45,000        $90,000     $38,806.00

032        Budgeting (Case)                           63        129            2.6        $47,250        $96,750       $1,937.00

                     TOTAL                          2423       4299      3,306.30       $1,789,125     $3,168,000   2,772,520.40


                                                                   Maximum Number of                   Total Number in
                               Total Number in Category
        Category of                                               Persons in Category that           Category that Actually
                             Expected to Work on Matter in
        Timekeeper                                              Actually Worked on Matter            Worked on Matter in
                                        Period(1)
                                                                in any Month during Period                  Period
           Partner                         4                              7 (March)                            8
    Counsel/Special
                                           0                                   0                               0
       Counsel
      Associate                            8                              13 (March)                           15
                       (2)
   Legal Assistant                         3                              9 (March)                            9
   Research Analyst                        2                             3 (February)                          4




  (1)
        Estimate is for total number of timekeepers billing a substantial number of hours to matter.
  (2)
        Includes clerks, legal analysts, eDiscovery professionals and technology services.




                                                                2

          SC1:4110846.3
             Case 1:14-cv-01561-PKC
       16-10073-mg                   Document
                     Doc 175 Filed 05/19/16   148-3 05/19/16
                                             Entered   Filed 07/21/17
                                                               17:48:24Page 29 Document
                                                                          Main of 45
                                         Pg 255 of 271


                                                       Exhibit I

                                                  EXPENSE RECORDS

                                                      JANUARY

   Category             Timekeeper    Work         Quantity    Rate         Amount              Cost Description
                          Name        Date
                                                                                       Local Transportation -
                                                                                       Transportation Type: Taxi; Starting
                                                                                       Point: 125 Broad St. NY, NY; End
Local             Brian D.                                                             Point: Home; Purpose: OT Travel;
Transportation    Glueckstein         1/15/2016      1.0           $28.85     $28.85   Pick-up Time: 00:36
                                                                                       Local Transportation -
                                                                                       Transportation Type: Taxi; Starting
                                                                                       Point: 125 Broad St. NY, NY; End
Local                                                                                  Point: Home; Purpose: OT Travel;
Transportation    Alexa J. Kranzley   1/15/2016      1.0           $26.62     $26.62   Pick-up Time: 04:00
                                                                                       Local Transportation -
                                                                                       Transportation Type: Taxi; Starting
                                                                                       Point: 125 Broad St. NY, NY; End
Local             M. Hampton                                                           Point: Home; Purpose: OT Travel;
Transportation    Foushee             1/15/2016      1.0            $8.00      $8.00   Pick-up Time: 04:10
                                                                                       Local Transportation -
                                                                                       Transportation Type: Taxi; Starting
                                                                                       Point: 125 Broad St. NY, NY; End
Local             Brian D.                                                             Point: Home; Purpose: OT Travel;
Transportation    Glueckstein         1/15/2016      1.0           $28.85     $28.85   Pick-up Time: 23:15
                                                                                       Local Transportation -
                                                                                       Transportation Type: Taxi; Starting
                                                                                       Point: 125 Broad St. NY, NY; End
Local                                                                                  Point: Home; Purpose: OT Travel;
Transportation    Chiansan Ma         1/15/2016      1.0           $63.36     $63.36   Pick-up Time: 04:02
                                                                                       Local Transportation -
                                                                                       Transportation Type: Taxi; Starting
                                                                                       Point: 125 Broad St. NY, NY; End
Local             Thomas C.                                                            Point: Home; Purpose: OT Travel;
Transportation    Watson              1/15/2016      1.0       $140.00       $140.00   Pick-up Time: 04:02
                                                                                       Local Transportation -
                                                                                       Transportation Type: Taxi; Starting
                                                                                       Point: 125 Broad St. NY, NY; End
Local                                                                                  Point: Home; Purpose: OT Travel;
Transportation    Chiansan Ma         1/15/2016      1.0           $63.56     $63.56   Pick-up Time: 00:29
                                                                                       Local Transportation -
                                                                                       Transportation Type: Taxi; Starting
                                                                                       Point: 125 Broad St. NY, NY; End
Local             M. Hampton                                                           Point: Home; Purpose: OT Travel
Transportation    Foushee             1/17/2016      1.0           $10.82     $10.82   (weekend); Pick-up Time: 21:55
                                                                                       Local Transportation -
                                                                                       Transportation Type: Taxi; Starting
                                                                                       Point: 125 Broad St. NY, NY; End
Local                                                                                  Point: Home; Purpose: OT Travel;
Transportation    Zara E. Minio       1/17/2016      1.0           $28.85     $28.85   Pick-up Time: 23:16




        SC1:4110846.3
             Case 1:14-cv-01561-PKC
       16-10073-mg                   Document
                     Doc 175 Filed 05/19/16   148-3 05/19/16
                                             Entered   Filed 07/21/17
                                                               17:48:24Page 30 Document
                                                                          Main of 45
                                         Pg 256 of 271


   Category             Timekeeper    Work        Quantity       Rate      Amount              Cost Description
                          Name        Date
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                                                                                 Point: Home; Purpose: OT Travel;
Transportation    Chiansan Ma         1/17/2016     1.0           $63.27     $63.27   Pick-up Time: 23:06
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                                                                                 Point: Home; Purpose: OT Travel;
Transportation    Alexa J. Kranzley   1/17/2016     1.0           $34.41     $34.41   Pick-up Time: 23:15
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local             Brian D.                                                            Point: Home; Purpose: OT Travel;
Transportation    Glueckstein         1/19/2016     1.0           $28.85     $28.85   Pick-up Time: 00:31
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                                                                                 Point: Home; Purpose: OT Travel;
Transportation    Chiansan Ma         1/19/2016     1.0           $63.44     $63.44   Pick-up Time: 23:42
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                                                                                 Point: Home; Purpose: OT Travel;
Transportation    Alexa J. Kranzley   1/19/2016     1.0           $37.76     $37.76   Pick-up Time: 22:55
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 1 New Fetter Lane (London,
                                                                                      UK Office); End Point: Home;
Local                                                                                 Purpose: OT Travel; Pick-up Time:
Transportation    Anna D. Chirou      1/21/2016     1.0           $54.45     $54.45   21:36
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local             Brian D.                                                            Point: Home; Purpose: OT Travel;
Transportation    Glueckstein         1/26/2016     1.0           $28.85     $28.85   Pick-up Time: 23:37
Local
Transportation
Total                                                                       $709.94
Conference        Andrew G.
Catering          Dietderich          1/15/2016     1.0          $120.00    $120.00   Conference Catering - 6 People
Conference        Andrew G.
Catering          Dietderich          1/20/2016     1.0           $99.62     $99.62   Conference Catering - 6 People
Conference
Catering Total                                                              $219.62
Meals -           Brian D.                                                            Meals - Overtime; Capped at $20;
Overtime          Glueckstein         1/15/2016     1.0           $20.00     $20.00   Project(s): 00025
Meals -           Christian P.                                                        Meals - Overtime; Capped at $20;
Overtime          Jensen              1/15/2016     1.0           $20.00     $20.00   Project(s): 00025
Meals -           M. Hampton                                                          Meals - Overtime; Capped at $20;
Overtime          Foushee             1/15/2016     1.0           $20.00     $20.00   Project(s): 00025


                                                             2

        SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 31 Document
                                                                         Main of 45
                                        Pg 257 of 271


  Category          Timekeeper       Work        Quantity        Rate       Amount               Cost Description
                       Name          Date
Meals -          Christian P.                                                           Meals - Overtime; Capped at $20;
Overtime         Jensen              1/16/2016     1.0            $20.00      $20.00    Project(s): 00025
Meals -          M. Hampton                                                             Meals - Overtime; Capped at $20;
Overtime         Foushee             1/17/2016     1.0            $20.00      $20.00    Project(s): 00025
Meals -                                                                                 Meals - Overtime; Capped at $20;
Overtime         Zara E. Minio       1/17/2016     1.0            $20.00      $20.00    Project(s): 00025
Meals -          Emily C. C.                                                            Meals - Overtime; Capped at $20;
Overtime         Drinkwater          1/17/2016     1.0            $20.00      $20.00    Project(s): 00025
Meals -                                                                                 Meals - Overtime; Capped at $20;
Overtime         Alexa J. Kranzley   1/19/2016     1.0            $20.00      $20.00    Project(s): 00025
Meals -                                                                                 Meals - Overtime; Capped at $20;
Overtime         Chiansan Ma         1/19/2016     1.0            $20.00      $20.00    Project(s): 00014, 00025
Meals -          Christian P.                                                           Meals - Overtime; Capped at $20;
Overtime         Jensen              1/19/2016     1.0            $20.00      $20.00    Project(s): 00025
Meals -          Andrew G.                                                              Meals - Overtime; Capped at $20;
Overtime         Dietderich          1/19/2016     1.0            $20.00      $20.00    Project(s): 00002, 00025
Meals -                                                                                 Meals - Overtime; Capped at $20;
Overtime         Zara E. Minio       1/19/2016     1.0            $20.00      $20.00    Project(s): 00009, 00025
Meals -          Jeannette E.
Overtime         Braun               1/19/2016     1.0            $17.24      $17.24    Meals - Overtime; Project(s): 00012
                                                                                        Meals - Overtime; Capped at $20;
Meals -          Christian P.                                                           Project(s): 00009, 00013, 00017,
Overtime         Jensen              1/25/2016     1.0            $20.00      $20.00    00019, 00025
Meals -          Christian P.                                                           Meals - Overtime; Capped at $20;
Overtime         Jensen              1/26/2016     1.0            $20.00      $20.00    Project(s): 00009, 00025
Meals -          M. Hampton                                                             Meals - Overtime; Capped at $20;
Overtime         Foushee             1/26/2016     1.0            $20.00      $20.00    Project(s): 00015
Meals -          Christian P.                                                           Meals - Overtime; Capped at $20;
Overtime         Jensen              1/28/2016     1.0            $20.00      $20.00    Project(s): 00019, 00025
                                                                                        Meals - Overtime; Capped at $20;
Meals -                                                                                 Project(s): 00008, 00013, 00014,
Overtime         Alexa J. Kranzley   1/28/2016     1.0            $20.00      $20.00    00015, 00019, 00025
Meals -
Overtime Total                                                               $357.24
Outside          Christopher J.
Vendors          Howard              1/28/2016     1.0          $7,633.52   $7,633.52   Professional Fees - F. Toube QC
Outside
Vendors Total                                                               $7,633.52
Repro - BW       Thomas C.
Copies           Watson              1/15/2016    159.0            $0.10      $15.90    Repro - BW Copies
Repro - BW       Thomas C.
Copies           Watson              1/15/2016    724.0            $0.10      $72.40    Repro - BW Copies
Repro - BW
Copies           Zara E. Minio       1/18/2016    2820.0           $0.10     $282.00    Repro - BW Copies
Repro - BW       Emily C. C.
Copies           Drinkwater          1/20/2016     1.0             $0.10       $0.10    Repro - BW Copies
Repro - BW       Emily C. C.
Copies           Drinkwater          1/22/2016    5374.0           $0.10     $537.40    Repro - BW Copies
Repro - BW       Thomas C.
Copies           Watson              1/28/2016    610.0            $0.10      $61.00    Repro - BW Copies
                                                            3

       SC1:4110846.3
             Case 1:14-cv-01561-PKC
       16-10073-mg                   Document
                     Doc 175 Filed 05/19/16   148-3 05/19/16
                                             Entered   Filed 07/21/17
                                                               17:48:24Page 32 Document
                                                                          Main of 45
                                         Pg 258 of 271


   Category             Timekeeper         Work        Quantity         Rate        Amount               Cost Description
                          Name             Date
Repro - BW
Copies Total                                                                         $968.80
                  Thomas C.
Repro - Binding   Watson                  1/15/2016      8.0              $3.25       $26.00    Repro - Binding
Repro -
Binding Total                                                                         $26.00
Repro - Color     Emily C. C.
Copies            Drinkwater              1/20/2016      4.0              $0.25        $1.00    Repro - Color Copies
Repro - Color
Copies Total                                                                           $1.00
Tele-conference   Anna D. Chirou           1/8/2016      1.0            $115.85      $115.85    Tele-conference
Tele-conference   Anna D. Chirou          1/11/2016      1.0            $150.35      $150.35    Tele-conference
Tele-conference   Lester Su               1/14/2016      1.0              $2.10        $2.10    Tele-conference
Tele-conference   Alexa J. Kranzley       1/15/2016      1.0             $19.81       $19.81    Tele-conference
Tele-conference   Chiansan Ma             1/18/2016      1.0             $12.09       $12.09    Tele-conference
Tele-conference   Chiansan Ma             1/19/2016      1.0             $17.85       $17.85    Tele-conference
Tele-conference   Alexa J. Kranzley       1/27/2016      1.0             $64.15       $64.15    Tele-conference
                  M. Hampton
Tele-conference   Foushee                 1/29/2016      1.0             $12.85       $12.85    Tele-conference
Tele-
conference
Total                                                                                $395.05
                  Andrew G.
Filing Fees       Dietderich              1/15/2016      1.0          $17,170.00   $17,170.00   Filing Fees
Filing Fees
Total                                                                              $17,170.00
Hearing
Transcripts       Alexa J. Kranzley       1/20/2016      1.0             $79.20       $79.20    Hearing Transcripts
Hearing
Transcripts
Total                                                                                  $79.20
Grand Total                                                                        $27,560.37

                                                         FEBRUARY

     Category             Timekeeper      Work Date     Quantity         Rate       Amount                Cost Description
                            Name
                                                                                                Local Transportation -
                                                                                                Transportation Type: Taxi; Starting
                                                                                                Point: 125 Broad St. NY, NY; End
                         Brian D.                                                               Point: Home; Purpose: OT Travel
Local Transportation     Glueckstein       1/18/2016           1.0        $18.80       $18.80   (holiday); Pick-up Time: 18:02
                                                                                                Local Transportation -
                                                                                                Transportation Type: Taxi; Starting
                                                                                                Point: 1 New Fetter Lane, London,
                         Christopher J.                                                         UK; End Point: Home; Purpose: OT
Local Transportation     Howard            1/29/2016           1.0       $193.89      $193.89   Travel; Pick-up Time: 22:26




                                                                  4

        SC1:4110846.3
             Case 1:14-cv-01561-PKC
       16-10073-mg                   Document
                     Doc 175 Filed 05/19/16   148-3 05/19/16
                                             Entered   Filed 07/21/17
                                                               17:48:24Page 33 Document
                                                                          Main of 45
                                         Pg 259 of 271


     Category            Timekeeper      Work Date    Quantity     Rate        Amount               Cost Description
                           Name
                                                                                           Local Transportation -
                                                                                           Transportation Type: Taxi; Starting
                                                                                           Point: 125 Broad St. NY, NY; End
                        Brian D.                                                           Point: Home; Purpose: OT Travel;
Local Transportation    Glueckstein        2/2/2016         1.0     $28.85       $28.85    Pick-up Time: 23:20
                                                                                           Local Transportation -
                                                                                           Transportation Type: Taxi; Starting
                                                                                           Point: 125 Broad St. NY, NY; End
                        Brian D.                                                           Point: Home; Purpose: OT Travel;
Local Transportation    Glueckstein       2/11/2016         1.0     $39.99       $39.99    Pick-up Time: 22:52
                                                                                           Local Transportation -
                                                                                           Transportation Type: Taxi; Starting
                                                                                           Point: 125 Broad St. NY, NY; End
                        Brian D.                                                           Point: Home; Purpose: OT Travel;
Local Transportation    Glueckstein       2/16/2016         1.0     $28.85       $28.85    Pick-up Time: 23:53
                                                                                           Local Transportation -
                                                                                           Transportation Type: Taxi; Starting
                                                                                           Point: 125 Broad St. NY, NY; End
                        Brian D.                                                           Point: Home; Purpose: OT Travel;
Local Transportation    Glueckstein       2/18/2016         1.0     $28.85       $28.85    Pick-up Time: 00:27
                                                                                           Local Transportation -
                                                                                           Transportation Type: Taxi; Starting
                                                                                           Point: 1 New Fetter Lane, London,
                                                                                           UK; End Point: White & Case LLP;
                        Christopher J.                                                     Purpose: Meeting; Pick-up Time:
Local Transportation    Howard            2/23/2016         1.0     $29.10       $29.10    09:21
Local
Transportation
Total                                                                           $368.33
                        Alexa J.
Travel - Out of Town    Kranzley          2/21/2016         1.0    $912.59      $912.59    Travel and expenses - Lodging
                        Alexa J.                                                           Roundtrip airfare between New
Travel - Out of Town    Kranzley          2/21/2016         1.0   $4,652.06    $4,652.06   York, NY and London, UK
                                                                                           Out of Town Taxi - Starting Point:
                        Alexa J.                                                           Home; End Point: Airport; Pick-up
Travel - Out of Town    Kranzley          2/21/2016         1.0     $78.74       $78.74    Time: 19:30
                                                                                           Travel and expenses - Lodging
                        Andrew G.                                                          ($912.59); Heathrow Express
Travel - Out of Town    Dietderich        2/21/2016         1.0    $998.67      $998.67    ($86.08)
                        Andrew G.                                                          Roundtrip airfare between New
Travel - Out of Town    Dietderich        2/21/2016         1.0   $4,652.06    $4,652.06   York, NY and London, UK
                                                                                           Local transportation in London, UK
                        Andrew G.                                                          on 2/22/2016 from Heathrow
Travel - Out of Town    Dietderich        2/22/2016         1.0    $107.02      $107.02    Airport to Hotel
                                                                                           Out of Town Taxi - Starting Point:
                        Andrew G.                                                          Airport; End Point: Home; Pick-up
Travel - Out of Town    Dietderich        2/24/2016         1.0     $97.46       $97.46    Time: 13:55
Travel - Out of
Town Total                                                                    $11,498.60
                        Anna D.                                                            Meals - Overtime; Capped at $20;
Meals - Overtime        Chirou            1/21/2016         1.0     $20.00       $20.00    Project(s): 00009, 00015


                                                             5

        SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 34 Document
                                                                         Main of 45
                                        Pg 260 of 271


     Category            Timekeeper    Work Date    Quantity    Rate     Amount             Cost Description
                            Name
                        Brian D.                                                    Meals - Overtime; Project(s):
Meals - Overtime        Glueckstein      2/2/2016         1.0   $17.70     $17.70   00008, 00017, 00025
                        Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime        Jensen           2/2/2016         1.0   $20.00     $20.00   Project(s): 00008, 00009
                                                                                    Meals - Overtime; Capped at $20;
                        Christian P.                                                Project(s): 00008, 00009, 00017,
Meals - Overtime        Jensen           2/3/2016         1.0   $20.00     $20.00   00025, 00028
                        M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee          2/3/2016         1.0   $20.00     $20.00   Project(s): 00009, 00019
                        M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee          2/4/2016         1.0   $20.00     $20.00   Project(s): 00019
                        M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee          2/8/2016         1.0   $20.00     $20.00   Project(s): 00019
                                                                                    Meals - Overtime; Capped at $20;
                        Alexa J.                                                    Project(s): 00015, 00019, 00025,
Meals - Overtime        Kranzley         2/9/2016         1.0   $20.00     $20.00   00028
                        M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee          2/9/2016         1.0   $20.00     $20.00   Project(s): 00015, 00019, 00025
                        M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee         2/10/2016         1.0   $20.00     $20.00   Project(s): 00009, 00015
                                                                                    Meals - Overtime; Capped at $20;
                        Brian D.                                                    Project(s): 00009, 00015, 00017,
Meals - Overtime        Glueckstein     2/11/2016         1.0   $20.00     $20.00   00025
                        M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee         2/11/2016         1.0   $20.00     $20.00   Project(s): 00015, 00017, 00019
                        Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime        Jensen          2/12/2016         1.0   $20.00     $20.00   Project(s): 00010, 00019, 00025
                        Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime        Jensen          2/16/2016         1.0   $20.00     $20.00   Project(s): 00015, 00025, 00028
                        M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee         2/16/2016         1.0   $20.00     $20.00   Project(s): 00013, 00015, 00025
                                                                                    Meals - Overtime; Capped at $20;
                        M. Hampton                                                  Project(s): 00009, 00013, 00015,
Meals - Overtime        Foushee         2/17/2016         1.0   $20.00     $20.00   00019, 00024
                                                                                    Meals - Overtime; Capped at $20;
                        Alexa J.                                                    Project(s): 00009, 00013, 00015,
Meals - Overtime        Kranzley        2/17/2016         1.0   $20.00     $20.00   00019, 00024, 00025, 00028
                        Brian D.                                                    Meals - Overtime; Project(s):
Meals - Overtime        Glueckstein     2/17/2016         1.0   $16.88     $16.88   00009, 00025, 00028
                        Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime        Jensen          2/17/2016         1.0   $20.00     $20.00   Project(s): 00009, 00025
                        M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee         2/18/2016         1.0   $20.00     $20.00   Project(s): 00013, 00019, 00024
                                                                                    Meals - Overtime; Capped at $20;
                        Alexa J.                                                    Project(s): 00013, 00019, 00025,
Meals - Overtime        Kranzley        2/19/2016         1.0   $20.00     $20.00   00028
                        M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee         2/22/2016         1.0   $20.00     $20.00   Project(s): 00013, 00019


                                                           6

        SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 35 Document
                                                                         Main of 45
                                        Pg 261 of 271


     Category            Timekeeper      Work Date    Quantity     Rate       Amount                Cost Description
                            Name
                        M. Hampton                                                         Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee           2/23/2016         1.0     $20.00       $20.00    Project(s): 00019
                        Christian P.                                                       Meals - Overtime; Capped at $20;
Meals - Overtime        Jensen            2/24/2016         1.0     $20.00       $20.00    Project(s): 00009, 00019, 00028
                        M. Hampton                                                         Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee           2/24/2016         1.0     $20.00       $20.00    Project(s): 00019, 00026
                                                                                           Meals - Overtime; Capped at $20;
                        M. Hampton                                                         Project(s): 00008, 00009, 00019,
Meals - Overtime        Foushee           2/25/2016         1.0     $20.00       $20.00    00026
                                                                                           Meals - Overtime; Capped at $20;
                        Alexa J.                                                           Project(s): 00008, 00009, 00010,
Meals - Overtime        Kranzley          2/25/2016         1.0     $20.00       $20.00    00017, 00019, 00028, 00032
                        Christian P.                                                       Meals - Overtime; Capped at $20;
Meals - Overtime        Jensen            2/27/2016         1.0     $20.00       $20.00    Project(s): 00019
                        Christian P.                                                       Meals - Overtime; Capped at $20;
Meals - Overtime        Jensen            2/28/2016         1.0     $20.00       $20.00    Project(s): 00019
                        M. Hampton                                                         Meals - Overtime; Capped at $20;
Meals - Overtime        Foushee           2/29/2016         1.0     $20.00       $20.00    Project(s): 00009, 00019, 00028
Meals - Overtime
Total                                                                           $594.58
                        Christopher J.                                    -                Professional Fees - Felicity Toube
Outside Vendors         Howard            1/28/2016         1.0   $1,272.25   -$1,272.25   QC (UK Counsel)
Outside Vendors
Total                                                                         -$1,272.25
                        Alexa J.
Tele-conference         Kranzley           2/3/2016         1.0     $66.03       $66.03    Tele-conference
                        M. Hampton
Tele-conference         Foushee           2/10/2016         1.0     $14.19       $14.19    Tele-conference
                        Alexa J.
Tele-conference         Kranzley          2/10/2016         1.0     $83.09       $83.09    Tele-conference
                        Alexa J.
Tele-conference         Kranzley          2/16/2016         1.0     $20.91       $20.91    Tele-conference
                        Alexa J.
Tele-conference         Kranzley          2/17/2016         1.0     $34.27       $34.27    Tele-conference
                        Alexa J.
Tele-conference         Kranzley          2/17/2016         1.0     $91.32       $91.32    Tele-conference
                        Alexa J.
Tele-conference         Kranzley          2/23/2016         1.0     $22.36       $22.36    Tele-conference
                        Alexa J.
Tele-conference         Kranzley          2/25/2016         1.0     $76.30       $76.30    Tele-conference
                        Veronica W.
Tele-conference         Ip                2/29/2016         1.0     $14.98       $14.98    Tele-conference
Tele-conference
Total                                                                           $423.45
Delivery                Christopher J.
Services/Messengers     Howard            2/23/2016         1.0     $25.12       $25.12    Delivery Services/Messengers
Delivery
Services/Messengers
Total                                                                            $25.12


                                                             7

        SC1:4110846.3
             Case 1:14-cv-01561-PKC
       16-10073-mg                   Document
                     Doc 175 Filed 05/19/16   148-3 05/19/16
                                             Entered   Filed 07/21/17
                                                               17:48:24Page 36 Document
                                                                          Main of 45
                                         Pg 262 of 271


     Category            Timekeeper   Work Date    Quantity    Rate       Amount               Cost Description
                            Name
                        Alexa J.
Hearing Transcripts     Kranzley       2/18/2016         1.0   $286.15     $286.15    Hearing Transcripts
Hearing
Transcripts Total                                                          $286.15
Grand Total                                                              $11,923.98

                                                      MARCH

                         Timekeeper     Work
     Category                                      Quantity    Rate      Amount                Cost Description
                           Name         Date
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                   M. Hampton                                                    Point: Home; Purpose: OT Travel;
Transportation          Foushee        2/22/2016         1.0    $8.76        $8.76    Pick-up Time: 21:15
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                   M. Hampton                                                    Point: Home; Purpose: OT Travel;
Transportation          Foushee        2/24/2016         1.0    $8.16        $8.16    Pick-up Time: 21:00
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                   M. Hampton                                                    Point: Home; Purpose: OT Travel;
Transportation          Foushee        2/25/2016         1.0    $6.95        $6.95    Pick-up Time: 21:01
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                   M. Hampton                                                    Point: Home; Purpose: OT Travel;
Transportation          Foushee        2/29/2016         1.0    $8.16        $8.16    Pick-up Time: 22:20
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                   Brian D.                                                      Point: Home; Purpose: OT Travel;
Transportation          Glueckstein     3/1/2016         1.0   $28.85       $28.85    Pick-up Time: 23:50
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                   M. Hampton                                                    Point: Home; Purpose: OT Travel;
Transportation          Foushee         3/3/2016         1.0    $8.16        $8.16    Pick-up Time: 21:06
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                   Brian D.                                                      Point: Home; Purpose: OT Travel;
Transportation          Glueckstein     3/3/2016         1.0   $28.85       $28.85    Pick-up Time: 23:40
                                                                                      Local Transportation -
                                                                                      Transportation Type: Taxi; Starting
                                                                                      Point: 125 Broad St. NY, NY; End
Local                   M. Hampton                                                    Point: Home; Purpose: OT Travel;
Transportation          Foushee         3/7/2016         1.0    $7.56        $7.56    Pick-up Time: 21:30



                                                          8

        SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 37 Document
                                                                         Main of 45
                                        Pg 263 of 271


                        Timekeeper       Work
    Category                                        Quantity    Rate     Amount              Cost Description
                          Name           Date
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  Brian D.                                                     Point: Home; Purpose: OT Travel;
Transportation         Glueckstein       3/8/2016         1.0   $28.85     $28.85   Pick-up Time: 23:23
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 1 New Fetter Lane, London,
Local                                                                               UK; End Point: Home; Purpose:
Transportation         Anna L. Hagan     3/9/2016         1.0   $50.15     $50.15   OT Travel; Pick-up Time: 23:21
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  Brian D.                                                     Point: Home; Purpose: OT Travel;
Transportation         Glueckstein       3/9/2016         1.0   $28.85     $28.85   Pick-up Time: 23:34
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                                                                               Point: Home; Purpose: OT Travel;
Transportation         Chiansan Ma       3/9/2016         1.0   $63.43     $63.43   Pick-up Time: 23:38
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                                                                               Point: Home; Purpose: OT Travel;
Transportation         Veronica W. Ip   3/10/2016         1.0   $39.10     $39.10   Pick-up Time: 22:57
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 1 New Fetter Lane, London,
Local                                                                               UK; End Point: Home; Purpose:
Transportation         Anna L. Hagan    3/10/2016         1.0   $46.01     $46.01   OT Travel; Pick-up Time: 01:55
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  Alexa J.                                                     Point: Home; Purpose: OT Travel;
Transportation         Kranzley         3/10/2016         1.0   $35.75     $35.75   Pick-up Time: 21:22
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                                                                               Point: Home; Purpose: OT Travel;
Transportation         Chiansan Ma      3/10/2016         1.0   $63.27     $63.27   Pick-up Time: 23:14
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                                                                               Point: Home; Purpose: OT Travel;
Transportation         Alice YN Ha      3/10/2016         1.0    $6.95      $6.95   Pick-up Time: 22:00
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 1 New Fetter Lane, London,
Local                                                                               UK; End Point: Home; Purpose:
Transportation         Anna L. Hagan    3/11/2016         1.0   $50.15     $50.15   OT Travel; Pick-up Time: 02:04




                                                           9

       SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 38 Document
                                                                         Main of 45
                                        Pg 264 of 271


                        Timekeeper      Work
    Category                                       Quantity    Rate     Amount              Cost Description
                          Name          Date
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 1 New Fetter Lane, London,
Local                                                                              UK; End Point: Home; Purpose:
Transportation         Anna L. Hagan   3/14/2016         1.0   $49.76     $49.76   OT Travel; Pick-up Time: 23:33
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                                                                              Point: Home; Purpose: OT Travel;
Transportation         Alice YN Ha     3/14/2016         1.0   $35.75     $35.75   Pick-up Time: 22:04
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                                                                              Point: Home; Purpose: OT Travel;
Transportation         Chiansan Ma     3/14/2016         1.0   $73.96     $73.96   Pick-up Time: 22:59
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                  Alexa J.                                                    Point: Home; Purpose: OT Travel;
Transportation         Kranzley        3/14/2016         1.0   $35.75     $35.75   Pick-up Time: 21:29
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                  M. Hampton                                                  Point: Home; Purpose: OT Travel;
Transportation         Foushee         3/14/2016         1.0    $8.15      $8.15   Pick-up Time: 22:46
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                                                                              Point: Home; Purpose: OT Travel;
Transportation         Chiansan Ma     3/15/2016         1.0   $63.27     $63.27   Pick-up Time: 23:21
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                  Brian D.                                                    Point: Home; Purpose: OT Travel;
Transportation         Glueckstein     3/15/2016         1.0   $28.85     $28.85   Pick-up Time: 00:15
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                  Alexa J.                                                    Point: Home; Purpose: OT Travel;
Transportation         Kranzley        3/15/2016         1.0   $25.50     $25.50   Pick-up Time: 23:41
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                                                                              Point: Home; Purpose: OT Travel;
Transportation         Zara E. Minio   3/15/2016         1.0   $28.85     $28.85   Pick-up Time: 23:42
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                  Emily C. C.                                                 Point: Home; Purpose: OT Travel;
Transportation         Drinkwater      3/15/2016         1.0   $25.50     $25.50   Pick-up Time: 23:43




                                                          10

       SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 39 Document
                                                                         Main of 45
                                        Pg 265 of 271


                        Timekeeper       Work
    Category                                        Quantity    Rate     Amount              Cost Description
                          Name           Date
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  Brian D.                                                     Point: Home; Purpose: OT Travel;
Transportation         Glueckstein      3/16/2016         1.0   $28.85     $28.85   Pick-up Time: 23:41
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  M. Hampton                                                   Point: Home; Purpose: OT Travel;
Transportation         Foushee          3/16/2016         1.0    $8.15      $8.15   Pick-up Time: 21:40
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                                                                               Point: Home; Purpose: OT Travel;
Transportation         Veronica W. Ip   3/17/2016         1.0   $39.99     $39.99   Pick-up Time: 22:52
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  Alexa J.                                                     Point: Home; Purpose: OT Travel;
Transportation         Kranzley         3/17/2016         1.0   $36.64     $36.64   Pick-up Time: 22:37
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  Alexa J.                                                     Point: 6th Ave. NY, NY; Purpose:
Transportation         Kranzley         3/17/2016         1.0   $28.85     $28.85   Meeting; Pick-up Time: 09:50
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                                                                               Point: Home; Purpose: OT Travel;
Transportation         Veronica W. Ip   3/18/2016         1.0   $37.76     $37.76   Pick-up Time: 21:00
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  Brian D.                                                     Point: Home; Purpose: OT Travel;
Transportation         Glueckstein      3/21/2016         1.0   $28.85     $28.85   Pick-up Time: 00:04
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                                                                               Point: Home; Purpose: OT Travel;
Transportation         Veronica W. Ip   3/21/2016         1.0   $39.10     $39.10   Pick-up Time: 21:27
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  Brian D.                                                     Point: Home; Purpose: OT Travel;
Transportation         Glueckstein      3/22/2016         1.0   $28.85     $28.85   Pick-up Time: 23:24
                                                                                    Local Transportation -
                                                                                    Transportation Type: Taxi; Starting
                                                                                    Point: 125 Broad St. NY, NY; End
Local                  Alexa J.                                                     Point: Home; Purpose: OT Travel;
Transportation         Kranzley         3/22/2016         1.0   $36.64     $36.64   Pick-up Time: 21:20




                                                           11

       SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 40 Document
                                                                         Main of 45
                                        Pg 266 of 271


                         Timekeeper    Work
    Category                                      Quantity    Rate     Amount               Cost Description
                           Name        Date
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                  Brian D.                                                    Point: Home; Purpose: OT Travel;
Transportation         Glueckstein    3/24/2016         1.0   $28.85     $28.85    Pick-up Time: 23:09
                                                                                   Local Transportation -
                                                                                   Transportation Type: Taxi; Starting
                                                                                   Point: 125 Broad St. NY, NY; End
Local                  Brian D.                                                    Point: Home; Purpose: OT Travel;
Transportation         Glueckstein    3/29/2016         1.0   $28.85     $28.85    Pick-up Time: 23:29
Local
Transportation
Total                                                                  $1,264.68
Travel - Out of        Alexa J.                                                    Train and Shuttle to Airport - Trip
Town                   Kranzley       2/21/2016         1.0   $12.25     $12.25    to London, UK
Travel - Out of
Town Total                                                               $12.25
Conference             Alexa J.
Catering               Kranzley       3/16/2016         1.0   $26.67     $26.67    Conference Catering - 4 people
Conference             Lee JF
Catering               Deppermann     3/22/2016         1.0   $29.94     $29.94    Conference Catering - 5 people
Conference
Catering Total                                                           $56.61
                       Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen          3/1/2016         1.0   $20.00     $20.00    Project(s): 00008, 00016, 00019
                                                                                   Meals - Overtime; Capped at $20;
                       M. Hampton                                                  Project(s): 00008, 00009, 00013,
Meals - Overtime       Foushee         3/1/2016         1.0   $20.00     $20.00    00019
                       Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen          3/2/2016         1.0   $20.00     $20.00    Project(s): 00008, 00009, 00019
                                                                                   Meals - Overtime; Capped at $20;
                       M. Hampton                                                  Project(s): 00009, 00015, 00019,
Meals - Overtime       Foushee         3/2/2016         1.0   $20.00     $20.00    00029, 00030
                       Thomas C.                                                   Meals - Overtime; Capped at $20;
Meals - Overtime       Watson          3/2/2016         1.0   $20.00     $20.00    Project(s): 00019
                       Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen          3/3/2016         1.0   $20.00     $20.00    Project(s): 00019
                                                                                   Meals - Overtime; Capped at $20;
                       Alexa J.                                                    Project(s): 00010, 00017, 00019,
Meals - Overtime       Kranzley        3/3/2016         1.0   $20.00     $20.00    00023
                       M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime       Foushee         3/3/2016         1.0   $20.00     $20.00    Project(s): 00019
                       Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen          3/4/2016         1.0   $20.00     $20.00    Project(s): 00009, 00016, 00019
                       Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen          3/5/2016         1.0   $20.00     $20.00    Project(s): 00019
                       Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen          3/7/2016         1.0   $20.00     $20.00    Project(s): 00019
                       M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime       Foushee         3/7/2016         1.0   $20.00     $20.00    Project(s): 00009, 00019

                                                         12

       SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 41 Document
                                                                         Main of 45
                                        Pg 267 of 271


                         Timekeeper      Work
    Category                                        Quantity    Rate     Amount             Cost Description
                           Name          Date
                                                                                    Meals - Overtime; Capped at $20;
                       Alexa J.                                                     Project(s): 00008, 00009, 00014,
Meals - Overtime       Kranzley          3/7/2016         1.0   $20.00     $20.00   00017, 00019
                       Alexa J.                                                     Meals - Overtime; Capped at $20;
Meals - Overtime       Kranzley          3/8/2016         1.0   $20.00     $20.00   Project(s): 00008, 00014, 00019
                       Christian P.                                                 Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen            3/8/2016         1.0   $20.00     $20.00   Project(s): 00019
                       M. Hampton                                                   Meals - Overtime; Capped at $20;
Meals - Overtime       Foushee           3/8/2016         1.0   $20.00     $20.00   Project(s): 00009, 00013, 00019
                       Christian P.                                                 Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen            3/9/2016         1.0   $20.00     $20.00   Project(s): 00008, 00009, 00019
                                                                                    Meals - Overtime; Capped at $20;
                       Alexa J.                                                     Project(s): 00008, 00009, 00014,
Meals - Overtime       Kranzley          3/9/2016         1.0   $20.00     $20.00   00019
                                                                                    Meals - Overtime; Project(s):
Meals - Overtime       Chiansan Ma       3/9/2016         1.0   $18.91     $18.91   00014, 00019
                                                                                    Meals - Overtime; Capped at $20;
                                                                                    Project(s): 00008, 00009, 00013,
                       Alexa J.                                                     00014, 00017, 00019, 00024,
Meals - Overtime       Kranzley         3/10/2016         1.0   $20.00     $20.00   00028
                       Christian P.                                                 Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen           3/11/2016         1.0   $20.00     $20.00   Project(s): 00010, 00019, 00024
                                                                                    Meals - Overtime; Capped at $20;
Meals - Overtime       Veronica W. Ip   3/11/2016         1.0   $20.00     $20.00   Project(s): 00019, 00023
                       Thomas C.                                                    Meals - Overtime; Capped at $20;
Meals - Overtime       Watson           3/11/2016         1.0   $20.00     $20.00   Project(s): 00009, 00019
                       Lee JF                                                       Meals - Overtime; Capped at $20;
Meals - Overtime       Deppermann       3/14/2016         1.0   $20.00     $20.00   Project(s): 00019
                       Alexa J.                                                     Meals - Overtime; Capped at $20;
Meals - Overtime       Kranzley         3/14/2016         1.0   $20.00     $20.00   Project(s): 00009, 00010, 00019
                       M. Hampton                                                   Meals - Overtime; Capped at $20;
Meals - Overtime       Foushee          3/14/2016         1.0   $20.00     $20.00   Project(s): 00019
                                                                                    Meals - Overtime; Capped at $20;
Meals - Overtime       Alice YN Ha      3/14/2016         1.0   $20.00     $20.00   Project(s): 00019
                                                                                    Meals - Overtime; Project(s):
Meals - Overtime       Chiansan Ma      3/14/2016         1.0   $19.90     $19.90   00019
                                                                                    Meals - Overtime; Capped at $20;
Meals - Overtime       Zara E. Minio    3/15/2016         1.0   $20.00     $20.00   Project(s): 00019
                       Alexa J.                                                     Meals - Overtime; Capped at $20;
Meals - Overtime       Kranzley         3/15/2016         1.0   $20.00     $20.00   Project(s): 00019, 00023, 00028
                       Christian P.                                                 Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen           3/15/2016         1.0   $20.00     $20.00   Project(s): 00019
                       Sarah E.                                                     Meals - Overtime; Project(s):
Meals - Overtime       Nudelman         3/15/2016         1.0   $15.50     $15.50   00019, 00023
                       Emily C. C.                                                  Meals - Overtime; Capped at $20;
Meals - Overtime       Drinkwater       3/15/2016         1.0   $20.00     $20.00   Project(s): 00019
                       M. Hampton                                                   Meals - Overtime; Capped at $20;
Meals - Overtime       Foushee          3/15/2016         1.0   $20.00     $20.00   Project(s): 00019


                                                           13

       SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 42 Document
                                                                         Main of 45
                                        Pg 268 of 271


                         Timekeeper     Work
    Category                                       Quantity    Rate     Amount             Cost Description
                            Name        Date
                       Brian D.                                                    Meals - Overtime; Project(s):
Meals - Overtime       Glueckstein     3/16/2016         1.0   $15.52     $15.52   00009, 00019, 00023
                       M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime       Foushee         3/16/2016         1.0   $20.00     $20.00   Project(s): 00009, 00013, 00019
                       M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime       Foushee         3/17/2016         1.0   $20.00     $20.00   Project(s): 00013, 00019
                                                                                   Meals - Overtime; Capped at $20;
                                                                                   Project(s): 00008, 00010, 00013,
                       Alexa J.                                                    00017, 00018, 00019, 00024,
Meals - Overtime       Kranzley        3/17/2016         1.0   $20.00     $20.00   00028
                                                                                   Meals - Overtime; Capped at $20;
                       Christian P.                                                Project(s): 00009, 00010, 00019,
Meals - Overtime       Jensen          3/18/2016         1.0   $20.00     $20.00   00028
                       Christian P.                                                Meals - Overtime; Capped at $20;
Meals - Overtime       Jensen          3/19/2016         1.0   $20.00     $20.00   Project(s): 00019
                       Brian D.                                                    Meals - Overtime; Project(s):
Meals - Overtime       Glueckstein     3/21/2016         1.0   $13.89     $13.89   00009, 00019, 00023
                       M. Hampton                                                  Meals - Overtime; Capped at $20;
Meals - Overtime       Foushee         3/21/2016         1.0   $20.00     $20.00   Project(s): 00013, 00019
                                                                                   Meals - Overtime; Capped at $20;
                       Christian P.                                                Project(s): 00009, 00010, 00011,
Meals - Overtime       Jensen          3/21/2016         1.0   $20.00     $20.00   00019
                                                                                   Meals - Overtime; Capped at $20;
                                                                                   Project(s): 00010, 00011, 00013,
                       Alexa J.                                                    00014, 00017, 00019, 00024,
Meals - Overtime       Kranzley        3/21/2016         1.0   $20.00     $20.00   00028
                                                                                   Meals - Overtime; Capped at $20;
                                                                                   Project(s): 00009, 00010, 00011,
                       Alexa J.                                                    00013, 00017, 00019, 00024,
Meals - Overtime       Kranzley        3/22/2016         1.0   $20.00     $20.00   00028
                                                                                   Meals - Overtime; Capped at $20;
                       Christian P.                                                Project(s): 00009, 00011, 00017,
Meals - Overtime       Jensen          3/22/2016         1.0   $20.00     $20.00   00019, 00024, 00028
                       Sarah E.                                                    Meals - Overtime; Capped at $20;
Meals - Overtime       Nudelman        3/22/2016         1.0   $20.00     $20.00   Project(s): 00019, 00023
                                                                                   Meals - Overtime; Capped at $20;
                       M. Hampton                                                  Project(s): 00009, 00013, 00014,
Meals - Overtime       Foushee         3/22/2016         1.0   $20.00     $20.00   00019, 00024
                       Lee JF                                                      Meals - Overtime; Capped at $20;
Meals - Overtime       Deppermann      3/23/2016         1.0   $20.00     $20.00   Project(s): 00019
                       Brian D.                                                    Meals - Overtime; Capped at $20;
Meals - Overtime       Glueckstein     3/29/2016         1.0   $20.00     $20.00   Project(s): 00015
Meals - Overtime
Total                                                                    $983.72
                       Emily C. C.
Repro - BW Copies      Drinkwater       3/4/2016       908.0    $0.10     $90.80   Repro - BW Copies
Repro - BW Copies      Zara E. Minio   3/15/2016       336.0    $0.10     $33.60   Repro - BW Copies
                       Emily C. C.
Repro - BW Copies      Drinkwater      3/16/2016      6289.0    $0.10    $628.90   Repro - BW Copies


                                                          14

       SC1:4110846.3
            Case 1:14-cv-01561-PKC
      16-10073-mg                   Document
                    Doc 175 Filed 05/19/16   148-3 05/19/16
                                            Entered   Filed 07/21/17
                                                              17:48:24Page 43 Document
                                                                         Main of 45
                                        Pg 269 of 271


                         Timekeeper        Work
    Category                                            Quantity              Rate        Amount                 Cost Description
                           Name            Date
Repro - BW
Copies Total                                                                                $753.30
                       Emily C. C.
Repro - Binding        Drinkwater        3/16/2016               2.0            $3.25            $6.50   Repro - Binding
Repro - Binding
Total                                                                                            $6.50
                       Alexa J.
Tele-conference        Kranzley           3/2/2016               1.0          $91.59          $91.59     Tele-conference
                       Alexa J.
Tele-conference        Kranzley           3/9/2016               1.0          $42.64          $42.64     Tele-conference
                       Alexa J.
Tele-conference        Kranzley          3/16/2016               1.0          $25.81          $25.81     Tele-conference
                       Alexa J.
Tele-conference        Kranzley          3/17/2016               1.0          $39.35          $39.35     Tele-conference
                       Alexa J.
Tele-conference        Kranzley          3/21/2016               1.0          $62.49          $62.49     Tele-conference
                       Alexa J.
Tele-conference        Kranzley          3/22/2016               1.0          $75.66          $75.66     Tele-conference
                       Alexa J.
Tele-conference        Kranzley          3/23/2016               1.0       $104.02          $104.02      Tele-conference
                       Alexa J.
Tele-conference        Kranzley          3/23/2016               1.0          $12.40          $12.40     Tele-conference
                       Alexa J.
Tele-conference        Kranzley          3/23/2016               1.0          $21.75          $21.75     Tele-conference
Tele-conference
Total                                                                                       $475.71
                       Alexa J.
Hearing Transcripts    Kranzley          3/11/2016               1.0          $45.60          $45.60     Hearing Transcripts
Hearing
Transcripts Total                                                                            $45.60
Grand Total                                                                               $3,598.37

                                                                APRIL

      Category         Timekeeper      Work          Quantity          Rate          Amount                  Cost Description
                         Name          Date
                                                                                                   Local Transportation - Transportation
                                                                                                   Type: Taxi; Starting Point: 125 Broad
                                                                                                   St. NY, NY; End Point: Home;
   Local               Veronica W.                                                                 Purpose: OT Travel; Pick-up Time:
   Transportation      Ip             3/22/2016            1.0         $27.00           $27.00     21:57
                                                                                                   Local Transportation - Transportation
                                                                                                   Type: Taxi; Starting Point: 125 Broad
                                                                                                   St. NY, NY; End Point: Home;
   Local               M. Hampton                                                                  Purpose: OT Travel; Pick-up Time:
   Transportation      Foushee         4/6/2016            1.0          $7.00            $7.00     21:29
                                                                                                   Local Transportation - Transportation
                                                                                                   Type: Taxi; Starting Point: 125 Broad
                                                                                                   St. NY, NY; End Point: Home;
   Local               Alexa J.                                                                    Purpose: OT Travel; Pick-up Time:
   Transportation      Kranzley       4/11/2016            1.0         $36.94           $36.94     21:11

                                                                 15

       SC1:4110846.3
         Case 1:14-cv-01561-PKC
   16-10073-mg                   Document
                 Doc 175 Filed 05/19/16   148-3 05/19/16
                                         Entered   Filed 07/21/17
                                                           17:48:24Page 44 Document
                                                                      Main of 45
                                     Pg 270 of 271


   Category         Timekeeper    Work       Quantity     Rate     Amount               Cost Description
                      Name        Date
                                                                              Local Transportation - Transportation
                                                                              Type: Taxi; Starting Point: 125 Broad
                                                                              St. NY, NY; End Point: Home;
Local               Chiansan                                                  Purpose: OT Travel; Pick-up Time:
Transportation      Ma           4/13/2016         1.0    $63.71     $63.71   23:50
                                                                              Local Transportation - Transportation
                                                                              Type: Taxi; Starting Point: 125 Broad
                                                                              St. NY, NY; End Point: Home;
Local               Chiansan                                                  Purpose: OT Travel; Pick-up Time:
Transportation      Ma           4/14/2016         1.0    $63.27     $63.27   23:18
Local
Transportation
Total                                                               $197.92
Meals -             Anna L.                                                   Meals - Overtime; Capped at $20;
Overtime            Hagan         3/9/2016         1.0    $20.00     $20.00   Project(s): 00009, 00019
Meals -             Anna L.                                                   Meals - Overtime; Capped at $20;
Overtime            Hagan        3/14/2016         1.0    $20.00     $20.00   Project(s): 00019
                                                                              Meals - Overtime; Capped at $20;
Meals -             Alexa J.                                                  Project(s): 00009, 00013, 00014,
Overtime            Kranzley      4/4/2016         1.0    $20.00     $20.00   00017, 00032
Meals -             M. Hampton                                                Meals - Overtime; Capped at $20;
Overtime            Foushee       4/6/2016         1.0    $20.00     $20.00   Project(s): 00005, 00009
Meals -             M. Hampton                                                Meals - Overtime; Capped at $20;
Overtime            Foushee       4/7/2016         1.0    $20.00     $20.00   Project(s): 00005, 00014
                                                                              Meals - Overtime; Capped at $20;
Meals -             Alexa J.                                                  Project(s): 00005, 00010, 00013,
Overtime            Kranzley     4/11/2016         1.0    $20.00     $20.00   00014
Meals -             M. Hampton                                                Meals - Overtime; Capped at $20;
Overtime            Foushee      4/11/2016         1.0    $20.00     $20.00   Project(s): 00005
Meals -             M. Hampton                                                Meals - Overtime; Capped at $20;
Overtime            Foushee      4/12/2016         1.0    $20.00     $20.00   Project(s): 00005
Meals -             M. Hampton                                                Meals - Overtime; Capped at $20;
Overtime            Foushee      4/13/2016         1.0    $20.00     $20.00   Project(s): 00005, 00009
Meals -             Chiansan                                                  Meals - Overtime; Project(s): 00005,
Overtime            Ma           4/13/2016         1.0    $19.97     $19.97   00009
Meals -             Chiansan
Overtime            Ma           4/14/2016         1.0    $17.41     $17.41   Meals - Overtime; Project(s): 00005
Meals -             M. Hampton                                                Meals - Overtime; Capped at $20;
Overtime            Foushee      4/14/2016         1.0    $20.00     $20.00   Project(s): 00005, 00019
                                                                              Meals - Overtime; Capped at $20;
Meals -             Alexa J.                                                  Project(s): 00005, 00010, 00013,
Overtime            Kranzley     4/18/2016         1.0    $20.00     $20.00   00015, 00024
Meals -             M. Hampton                                                Meals - Overtime; Capped at $20;
Overtime            Foushee      4/18/2016         1.0    $20.00     $20.00   Project(s): 00005, 00008, 00019
Meals -             M. Hampton                                                Meals - Overtime; Capped at $20;
Overtime            Foushee      4/19/2016         1.0    $20.00     $20.00   Project(s): 00005, 00013, 00014
                                                                              Meals - Overtime; Capped at $20;
Meals -             Alexa J.                                                  Project(s): 00005, 00013, 00014,
Overtime            Kranzley     4/20/2016         1.0    $20.00     $20.00   00019, 00024, 00028


                                                         16

    SC1:4110846.3
         Case 1:14-cv-01561-PKC
   16-10073-mg                   Document
                 Doc 175 Filed 05/19/16   148-3 05/19/16
                                         Entered   Filed 07/21/17
                                                           17:48:24Page 45 Document
                                                                      Main of 45
                                     Pg 271 of 271


   Category         Timekeeper    Work       Quantity     Rate      Amount                Cost Description
                       Name       Date
Meals -             M. Hampton                                                  Meals - Overtime; Capped at $20;
Overtime            Foushee      4/20/2016         1.0    $20.00      $20.00    Project(s): 00005, 00013, 00019
Meals -             M. Hampton                                                  Meals - Overtime; Capped at $20;
Overtime            Foushee      4/28/2016         1.0    $20.00      $20.00    Project(s): 00005, 00006
Meals -
Overtime
Total                                                                $357.38
                    Alexa J.
Tele-conference     Kranzley      4/1/2016         1.0    $30.00      $30.00    Tele-conference
                    Alexa J.
Tele-conference     Kranzley      4/1/2016         1.0    $30.00      $30.00    Tele-conference
                    Alexa J.
Tele-conference     Kranzley      4/6/2016         1.0   $121.29     $121.29    Tele-conference
                    Alexa J.
Tele-conference     Kranzley     4/13/2016         1.0    $32.06      $32.06    Tele-conference
Tele-
conference
Total                                                                $213.35
Hearing             Alexa J.
Transcripts         Kranzley     3/22/2016         1.0    $51.30      $51.30    Hearing Transcripts
Hearing             Alexa J.
Transcripts         Kranzley     3/25/2016         1.0   $179.58     $179.58    Hearing Transcripts
Hearing             Alexa J.
Transcripts         Kranzley      4/1/2016         1.0   $145.20     $145.20    Hearing Transcripts
Hearing             Alexa J.
Transcripts         Kranzley     4/20/2016         1.0    $78.65      $78.65    Hearing Transcripts
Hearing
Transcripts
Total                                                                $454.73
Grand Total                                                         $1,223.38
Grand Total
for Interim
Period                                                             $44,306.10




                                                         17

    SC1:4110846.3
